          Case 2:06-cr-00210-LDG-VCF           Document 761        Filed 06/10/08       Page 1 of 48

                                                                       f'
                                                                        ltfo                     jlggg
                                                                       iAlflls'
                                                                              o           '            lvgp
                                                                                                 S(IFkVED0N
       1                                                                          cpt/Nsf'
                                                                                         l./?ARntl()Fugtup

                                                                           JP# 10 m



      5                                UN ITED STAT ES DISTR IC T CO
                                                                            UR T
      6                                        DIST RICT O F NEV A DA
      7 UN ITED STA TES O F AM ERICA ,
                                                          )
      8                        Pl                         )
                                aintiff,                  )
     9            v .
                                                          )
                                                          ) 2:()6-cr-021O-I,DG (l-Rl-)
  10 JOIINNY M IZE                                        )
                           ,                              )
  11                           D                          )
                                   efendant.              )
  12                               PR ELIM INA R Y O RD ER O F FO RF
                                                                    EIT U RE
  13       W IIEREA S, on June l0 2008,defendantJO I-IN NY M lzfïpled guiltytoCou
                                  ,
                                                                                   ntsOnc.'rw o,
 14 Six,Ten, Twenty Three, and Forty Seven ofa Fifty-one CountCrim inalI
                                                                       ndictm entcharging him in
 15 CountOnewithConspiracyinviolationof18U .
                                                       S.C.j371l.
                                                                ocommisviolationsof18U S.C.jl028,   .

 16        18 U .S.C . j 1341,18 U.
                                  S.C.j 1343,18U.   S.C.j'1344,18 (J.S.C.j 2314, and l8 U.S.C.j2315;
 17 CountTwo and Six with Production ofFalseldentif-ication Docum ents in violation of 18 U
                                                                                      S.C.9               .

 18 1028(a)(1);CountTenwithPossessionandTransferofFivt!orM oreFalseIdentitieation Docum ents
 19in violation of 18 U .S.C.j l028(a)(3);CountyTwenty '   la
                                                            hreewith Bank Fraud in violation o1-18
20 U .S.C . j 1344;and CountFortySeven with Aggravated IdentityThef'   tin violation of 18 U
                                                                                             .S.
                                                                                               C.j
2l 1028A;and agreed to theforfeitureofpropertysetforth in theBillofParticulars
                                                                                 ,the Supplemental
22 Billof Particulars, and the Forfeiture AllegationsoftheCriminallndictm
                                                                          ent.
23               AN D W H EREA S, pursuantto Fed.R.Crim .P
                                                              .   32.2(b)(l),thisCs
                                                                                  ourttindsthattheUnited
24 States of A m erica has show n a nexus betw
                                                    een property set forth in the Bill ()f l3articulars, the
25 SupplementalBillofParticulars, and the ForfeitureAllegationsofthe CriminalIndictm e
                                                                                      ntand the
26 offensesto which defendantJOHN N Y M IZE pled guilty.




  l
         Case 2:06-cr-00210-LDG-VCF         Document 761          Filed 06/10/08       Page 2 of 48




     1            A ND W H EREA S, thefollowi
                                            ngissubjecttoforfeiturepursuantto 18IJ.S.        C.j981(a)(1)(C)
     2     and 28 U .S.C . â2461(c);18U.
                                       S.C.jj982(a)(1),982(a)(2)(A),982(a)(2)(B),        and982(b);18U.S.C.
     3 j 1028(b)(5);and21U.S.C.j853(p),upto$3,900,000.00.includingbutnotlim ited to:
     4            (a) A COM MANDER 2800 PARTY DECK 'C'
                                                     lTIE STUNNER''IIAUL NUM BER
                        CF8682RBBOA T LOCA TED IN 'FIIE DRIVEW A Y A T 6706 PY RA CA N TH A
     5                  G LEN COU RT, LA S V EG A S,N IC
                                                       ,VA DA ;
 6                (b) 2000 PURPLEK l17
                      lFA FP66L0Y    ORD CONTOUR, N I:'VA D A I-IC EN SE Pl.A 'I'E 63251$Z, VIN
                                     05
                                           251, IN TH E D RIV EW A Y A'l'6706 PY RACA NTIIA GLEN
     7                  CO U RT , LA S V EGA S,N EVA DA ;

 8                (c) 2005   RED GM C TRUCK, N EV AD A LIC EN SE Pl.A'l'E 576SZX, VlN
                      1G1-11K23245
                                  17972744,IN THE D RIVEW AY AT 6706 PY RA CAN 'I'IIA GLEN
 9'                   COURX LA S VEGAS, N EVA D A ;
 10               (d) ANY
                      //33 AND ALL FLJ
                                     NDS CON'I'AINED IN W EIX1wS I'A RG O A CCOU N'I'
 11                     BL 26126053,I'
                                     N THE N A M E O l7SIIA RO N SIM O N , A T 1760 1!C IIA RLESTO N
                          VD ,LA S VEG A S,NV 89104)
 12               (e) ANY AND ALL FUNDS CONTAINED IN W ELI,S I'NA RG O A CCO UNT
                      //3418791368T
                                  ,IN T1'IE NA M E Ol7SIM O N Sf:
                                                                'LZ, INC., dbaQUIK DROP.AT 1760
13                    E CHARLES ON BIVD LAS VEGAS,NV 891
                                             u   ,
                                                                    04;
14               (f)   ANY
                       //  AND ALI. FUNDS CONTAINED IN W ELIS FA RG O A CCO UN T   .

15                      184021
                         760 E 773
                               CHA18R,IN 'I'HE N A M R O l7 SIIA RON SIM O N A N D D I:
                                                                                      'Bl!IU, SlM f)N ,A 'I'
                                      LESTON BLV D,I.A S VEG A S, N V 89104;
16               (g) 5GRG
                     2005 N22U05I
                          BLACK 11HUMM
                                   12  ER 112, N IT
                                                  'VA DA LICEN SIS
                                                                 , PI,A TE OOITLS, V IN
                                                                 '
1                                         574,IN Tllff D RIV EW A Y A'l'6706 PYRACA N TIIA G LIïN
 7                     C OU RT , LA S V EGA S,N EVA D A ;
18               (h) 2003 GRAY TRAILER W ITH ''SKUIXL A N D PISTO N S'' EM BLEM ON TH E
19                     TA IL G
                       1M 9U   A827371
                             171 TE, 08572
                                       CA LIFO R N lA L IC EN S E P LA TE 4 D G 3936 ,                V lN :
                                           , AN D Tl-lffCO NTEN TS O F TIlIfTRA ILER :
20                     1)     ROLEX M ANSW ATCH YELIO W GO LD SERIA L N U M BER:16613;
                                                              .


21                     2)     GUCCIMANS W ATCH SERIAL NUM BER:860051;
22                     3)     ULTRA BRAND RING SE'1'W III'rE METAL W ITIIW HI'I'f!S'l'
                                                                                     ()Nlï;
23                     4)     CANON EOS REBEL -1-2 CAM ICRA;
24                     5)     SONY CYBERSHOT DSCS8S DIGITAL CAM iIRA;
25                     6)     CANON CAM CORDER M O17Ei.# NTSCZR4BM C ;
26                     7)    CANON DIGITAL CAM ERA POW ERSll()'l'A85)

                                                        2



                                                                                                               !
     Case 2:06-cr-00210-LDG-VCF    Document 761   Filed 06/10/08   Page 3 of 48




     l            8)     SONY I-IANDICAM CAMCORDER DCRDVDZO3NTSC;
 2                9)     CANON DIGITAL CAM ERA POW ERSHOT 513200;
 3                10)    OLYM PUS DIGITAL CAM ERA (2700UIVTRA ZOOM;
 4                11)    NIKON COOLPIX 7600DlGl'1'A1-CAMERA SERIALNI/MBER:30496613;
 5                12)    M INOLTA DIGITAL CAM ERA MODEL#DIM AGEG4OO;
 6                13)    DELI,DIM EN SION 4700 SERIAL NUM BER:9N3C56lk
 7                14)    DELL DIMENSION 4700SERIAIXNUM BICR:FKSVZ6I)
 8                15)   HPPAVILION 700SERIAL NUM BER:M X21602l84;
 9                l6)   M AC M ODEL/ A 1047 POW ER M AC G5;
10                17)   DELI,OPTIPLEX GX2G()SERIALNUM BER:81Z(7,631k
l1                l8)   POW ICR M AC G4 COM PU'I-ER 'l'()W Elt S1!R1Al N U M BIIR :
                                                                           -



l2                      XB1l7OLQKXS;
13                19)   SONY VAiO PCV-A3II.SERIAI,NUM BER:3012884;
14                20)   1BM AS400E COM PUTIïR 'I'OW ER SERIAI-NUM BER:l0-69DB 0;
l5               21)    HP COM PAQ DESKTOP COM PUTER S1!R1A1wNUM BER:
16                      21784 160 IX N ;

17               22) HP COMPAQ DESKTOP SERIALNUM BER:U30714N9/,3345;
18               23)    llPCOM PAQ DESKTOP COM PUTER SERIALNUM BER:2UB41GO1ZF;
19               24)    llPCOMPAQDESKTOPCOM PUTER SERIALNUM BER:tJSU326OFD4;
20               25)    HPCOM PAQ DESKTOPCOM PUTER SERIAI,NtJM BIT
                                                                 'R:USW4I2O4YZ;
21               26)    M AC POW ERBOOK 04 LAPTOP COM PUTI:
                                                          'R M ODlïL#l025;
22               27)    TOSHIBA SATELLITE I.A13'I'OP COM PUTER SERIAI, N UM BER :
23                      Y2023909C1-1-1;

24               28)    HP COM PAQ NC8230 LAP'I'OP COM PUTER SERIAI, N U M BER:
25                      CN U S3SID IM ;
26       ...

                                            3
         Case 2:06-cr-00210-LDG-VCF        Document 761        Filed 06/10/08        Page 4 of 48




      1               29)     SONY VAIO LAPTOP COM PUTER M ODltL#PCG                        -
                                                                                                7020 SERIAL
     2                        NUM BER:CJLLTW QS;
     3                30)     HPNC6120LAPTOP COMPU'f'ER SERIAL NtJMBER
                                                                                          :CNU S34lW 4S;
     4                3l)     MAC POW ERBOOK (J4 I,A P'ID P COM PUTIT'R SERIA L N U M BER :
                                                       -



     5                        N 731424851V Z9

     6               32)      DELLXPS LAPTOP COM PUTER SERIAL NUMBER
                                                                                         :JN YFP6I;
     7               33)      IMAC DESK'I'OP COM PUTIT
                                                     'R SERIAL NUM BER;XA 84729'l'EUL;
     8               34)      BLACK BAG CONTAINING lIP COM PAQ 6110 Sl
                                                                                          :
                                                                                          'RlA I- NU M BER:
     9                        CN U SO9FSIJZ;
 10                                                                                                             (
                     35)     SONY VAIO LAPTOP SERIAI, N UM BER:J0002'l'Y K E:
 11                  36)     lIP PAVILION ZD 8000 SERIAL NUM BER
                                                                         :I'N I'SIISIIN W B;
 12                  37)     GATEW AY LAPTOP M ODi'
                                                  ,L 675 SER I
                                                             A I-N UM BER:ll00232880;
 13                  38)     TOSHIBA SATELLITE 1955 5803 SERIA I-N UM BI:'It:92049400 C;
                                                           -



 14                 39)      I4P DV400 LAPTOP SERIAI, NU M BER:CN E516O P7N ;
 15                 40)      DELL INSPIRON LAPTOP 600 M SERIAL NUM BER
                                                                                        :3J5ZI.7I;              1
 16                 41)      GATEW AY M ODEL 350W VN SERIAL NUM BER
                                                                                     :0034027338;
 17                 42)     DELI, INSPIRON SERIAL NUM BER:SQZQL'
                                                               /I;
18                  43)     W INBOOK LAPTOP GREEN SERIAL NUM BI#R
                                                                                 :V 24009040237;
19                  44)     SON Y VIAO LAPTOP M ()Df6L # PCG7D2l
                                                                                 -    SERIA I, N UM BER :
20                          C 30(1M 7E8k

21                  45)     GOlaF CALLAWAY BAG CON'
                                                  I'
                                                   AINING 13GOLf'
                                                                                     'CI,UISS:
22                  46)     CALI-A W A Y G O LF BA G W I7'l.l10 GO LF CI,UBS;
23                  47)     ADAM S GOLF BAG CONTAINING 6GOLF Cl
                                                                            o   tJBS;
24                  48)     SERVER COM PUTER SERIAL NU MBER
                                                                       :00043-597-476-236;
25                 49)      DUFFI- E BAG CONTAINING P110T0 EQUIPM ENI'Sl:
                                                                        'ItlAl                  ,   N UM BER:
26                          00043- 597-476-236;

                                                   4
          Case 2:06-cr-00210-LDG-VCF       Document 761          Filed 06/10/08       Page 5 of 48




      l                50)      PIIOTO ILLUM INATION DIW ICE;
      2                51)     GENERATOR SERIAL NUM BIïR: 12684;
      3                52)     SAM SUNG FLAT SCREEN TV SERIAL NUM BER:393/3C:1Y 702788/.;
      4                53)     HP M ONITOR 1595SERIAL NUM BER :M X KS2800FI!;
      5                54)     M AC W ELDER SERIAL NUM BER:111-1'20004080004)
                                                                      -


      6                55)     TOSFIIBA COMPUTER Sl$
                                                   ,'
                                                    RIA L N UM BER :2020565000846;
     7                 56)     14'' BLACK & W HITE SW ITCHER W /2 NIG!l'I'VISION
     8                                                                                               CAMERAS 1
                               SERIA I,N U M BER ;7859711042;
     9                57)      M M F CASH DRAW ER;
 10                   58)     CALINA GOLF BAG CONTAîNING 11 GOl,
                                                                             F CLU BS;
 11                   59)     NIKE GOLFBAG CONTAINING 12GOLl7CI.UBS;
 12                   60)     SE'I'01.
                                     'NIKE IRONS I'N A BOX;
 13                   61)     THREE (3)IGNITE GOLFCLUBS;
 14                   62)     THREE (3)ONE OF EACH ,BEAR TRA CK ER GO I-l7C l
 15                           G O LF CLUB , TA YLO R M A D E G OLF CLU B;
                                                                                           tJB.CALk,AWAY q
                                                                                           .




 16                   63)     DEW ALT CIRCULAR SAW NO SERIAI, N U M BER ;
 17                   64)     AN X-BOX 360, 6G AM ES,2 CON TROLLERS
                                                                               ,   IAO W I:
                                                                                          'It CO RD S SI'
                                                                                                        .'
                                                                                                         RIA I,
 18                          N UM BER :504288660406
                                                             ;
19                   65)     DVD HOM E ENTERTAiNM BNT SYSTI#M SERIA
                                                                                               I, N U M BER:
20                           034757950880061A5
                                                 ;
2l                   66)     BOSCH AQUA START TANKLESS GAS W ATER FIEATF
                                                                                                 R SERIA L
                                                                                                 ,

22                           N UM BER :7- 703-411-002;
23                   67)     BOSH AQUA STAR TAN KLESS GAS W ATER Ill!A'l
                                                                                         'E1t;
24                   68)     SONY VEGA 199'TV, M O DIïL #K LV S19A 1O ;
25                   69)     SAM SUNG FLAT SCREEN                  LCD    TV   .     SER IA I, N U M BER :
26                           AA 1X 34K X SO O 921B
                                                     ;

                                                         5
         Case 2:06-cr-00210-LDG-VCF     Document 761        Filed 06/10/08   Page 6 of 48
                                                                                                               1
                                                                                                               I
                                                                                                               l
      1               70) TW O (2) ORECK VACUUM CLEANERS SI-
                                                           C
                                                           'RIA L N UM BERS:
     2                        20001414817022195, A N D UN A VA ILABLE N UM BER
                                                                                   .


     3                71)     M AKITA 18VOLT 4 PC CO R DLESS CO M BO K 1T M O DEL #LX T400;
                                                    -



     4                72)    YAM AHA 600N EM X 660POW ER MIXER IN A BOX
                                                                                       ;
     5                73)    BENCHTOP PRO 18VOLT 6IN 1COMBO KIT;
     6                74)    TROY BILT 5550 W A'l'I'S GAS POW ER GENERATOR                      .   SERIA L
     7                       N UM BER 0602275+ 49748;
     8               75)     EPSON POW ERLITES3M UI,'rIM ED IA PROJECTO R SERIALN U M BER
     9                       V ll114179020;

 10                  76)     BOSE COM PANION 3 M UL'I'IM EDIA SPEAKER SYSTEM SER
                                                                                                       IA I,
 11                          N U M BER :033061Z51l10477A C
                                                             ;
 12                  77)     M ITSUBISHIELECTRIC DLP PROJECTOR SIT'IU A L NU M BER:3994;
 13                  78)     PHILLIPS HARD DRIVi! DVD RECORIAER SERIAI                     .   NU M BER :
 14                          N W 000G 1EO OG 17S;
 15                  79)    HP PAVILION PC 19'3LCD FLAT PANEL M ON1'I'OR
                                                                                ;
 16                  80)    SAECO ITALIA AUTOMATIC COFFEE M ACHINIîSERIAL NUM BE
                                                                                                        R
17                          178435;

18                   8l)    QUARTER CABLE NAII, G UN KIT;
19                  82)     RYOBI18HOLE CORDLESSTOOL SEX
20                  83)     JMC GLOBAL M ACHINERY COMPANY TOOL KIT
                                                                               ;
21                  84)     BOSE DVD HOME ENTERTAINMENT CENTER SERIAL NUM B
                                                                                                      ER :
22                          034125952920274A 5;
23                  85)     HP 19''FLA'I-PANEL MONITOR;
24                  86)     PHO7'O ILLUM FNATION DEVICE;
25                  87)     EMERSON 15''LCD STEREO TV & DVD COM BO MODEL//EW L
                                                                                                    ISDG; 1
26                  88)     MILW AUKEE TOOL KIT;

                                                        6
         Case 2:06-cr-00210-LDG-VCF     Document 761     Filed 06/10/08    Page 7 of 48
                                                                                                    $
                                                                                                    I


     l                89)    HITLITOOL KIT;
     2                90)    RYOBI18VOLT TOOL KI'l';
     3                91)    DEW ALT NAILER KIT;
     4                92)    PALOMA TANKLESS GAS W ATER HEATER SERIAL NUM BER:
     5                       PJNGO3OGPO00326;
     6                93)    PAI,OM A TANKLESS GAS W ATER HEATER M OIIEL P'I'
                                                                            G 74X ;  -



     7                94)    PALOM A TANKLESS W A'I'
                                                   l!R IIEATER M ODEI,
                                                                            PTG-74PV;               J
     8                95) PALOMA TANKLESSGASWATER HEATER MODELPTG-74PV;                             1
     9                96) EMACHINESMODELW3I16DESKTOPPCWITHMONITORSERIAL l
 10                          N UM BER:CCA G3JO 019580;

 11                  97)    TW O (2) BOSCH AQUA S'I'Alt 'INANKIaESS G A S W A I'ER I4EA'I'IïR
 12                         M O D FJ,S 1258 N G ;

 13                  98)    THREE (3)BOSCH AQUAS'I'AR TANKI,ESS G AS W ATER H EATER

 14                         MODEL25OSXOMG;                                                          j
15                   99)    ROADM ASTER PORTABI. IïBRA K IN G SY SKI'EM ;
16                   100) DYSON VACUUM CLIT
                                          'ANI:
                                              'R M ODEL DC 14 SERIAL NUM BER:
17                          229U 5A 36815;
18                   101) lIP PAVILION         PC   M OIIEL A 1253W 13 SERIA L N U M BER:
                                                                       -



19                          M X FG IG O41C ;
20                   102) DEW ALT XRP COM BO KITSM ODEL DC6KTGA;
21                   103) TW O (2)DEW ALT 18VOL'
                                               I'6'l'()OL COM BO KIT M ODEL DC6KTGA;
22                   104) DEW ALT COM BO KITSM ()l)El. D CSKI'I'A ;

23                   105) EPSONPOWERLITE7CC;                                                    l
24                   106) SONY CINEM A VIDEO PROJECI'
                                                    OR VPL I4SSO /SI;
                                                                   -



25                   107) BROTHER SE-270D SEW IN G & EM BROIDERY M ACIIINII'SERIAI.
26                          NUM BER:C5G 185242;

                                                    7


 1                                                                                              -
              Case 2:06-cr-00210-LDG-VCF        Document 761      Filed 06/10/08   Page 8 of 48



             1                108) DEW ALT TOOK KlT M OD
                                                                EL D C4KITA ;
          2                   109) HP DIGITAL ENTERT
                                                           AINM ENT CENTER M ODEL Z5SS SERIAL
          3                        NUM BER
                                             :M X K SI3129B ;
          4                   1l0) RIDGID NAIL GUN M OD
                                                            EL RZSOA FA ;
          5                111) PHILIPS MAGNAVOX
                                                          W EB TV M ODEL M AT972;
         6                l12) MITSUBISHIDLP PRO
                                                          JISCTOR M OD EL#l1C3OOO;
         7                113) M ITSUBISHIPROJECT
                                                          OR M O DEL//H CFOOO;
         8                l14) LASER BEACON M ODi
                                                          SI,I.B-IM O DEL//3900;
         9                115) TOPCON RT SSA RO TA 'FING LA SER;
                                                -


     10                   l16) STANLEY 165PIECE TO
                                                           O 1,Sl#'
                                                                  1';
     l1                  117) XAN TREX INVERTER
                                                          ClIAItGIC
                                                                  'I: FREEDOM 458 SERjAL NUM BER
     12                           1700025                                                                 :
                                         9454
     13                  118) GATEW AY PC SERIAL
                                                          N UM BER:1099876399;
     14                  119) GARMIN GPSMAPSERIALNUM BER;70700456;                                            )
    15                   120) GARMIN GPS MAP SYS
                                                   TEM SERIAL N UM BER:70700459
    16                   12                                                         ;           '
                              1) GARMIN GPSM APSYSTEM M()DEI,#498SER IA I
 17                                                                      , N U M BER :70700481;

                         122) GARM IN GPSMAPSYSTEM MODEL#498SER
 1                                                              IA LN UM BER:70800365;
     8                   123) GARM INGPSM APSYS
                                                       TIïM M O I7Ei,#498 SHRIA L N UM BER
 19                                                                                          :70700033;
                        124) GARMIN GPSM APSYSTEM M ODEL#498SER
                                                               IAI,N UM BER:70700455;
20                      125) GARMIN GPSM APSYS
                                                      TEM M ODEL//O 8SERIALNUM BIIR
21                                                                                         :70800405;
                        126) GARM IN OPSM APSYSTEM M ODIïL#498SERI
2                                                                A L N UM BER:70800363;
 2                      127) GARM IN GPS M AP SYS
                                                      TEM M ODEL#498SERIALNUM BER
23                                                                                        :70800366;
                       128) GARMIN GPSM APSYSTEM MOI7lV #498SE
                                                              RIALNUM BER:70800365)
24                     129) GARM IN GPSM AP S
                                                    YSTEM M ODEla#49$SERIALNUM BER:70800364
25
26                     130) GARMINGPSMAPSYSTEMMODEL#498SERIALNUMBIïR:70700460;;1
                       l3l) GARM IN GPSM APSYSTEM M()I)î
                                                                  1
                                                                  'I,#498SERIA IV N UM IJER:70700035)
                                                      8
      Case 2:06-cr-00210-LDG-VCF   Document 761   Filed 06/10/08   Page 9 of 48
                                                                                      l


     l             132) GARMIN GPSMAPSYSTEM M ODEL#498SERIAI, N UM BER:70700036)
     2             133) GARMIN GPSMAPSYSIAI'
                                           .M MODEL#498SIïRIAI. NU M BER :70700457;
     3             134) GARMIN GPSMAPSYSTEM MODEL#498SERIALNUM BER:70700031;
     4             135) THREE (3)TOM TOM GO 300 GPS NAV SYSTEM ;
     5             136) SlX (6)GARM IN NUVI350PERSONAI, TIG VEL A SSISKI'AN 'I';
 6                 137) MAGELLAN ROADMATF,700SERIAL NUMBER:0102300403267;
 7                 138) MAGELI-AN ROADM ATIï700 SERIAL NUM BER;0102300378855;
 8                 139) MAGEI,LAN ROADMATE 700SERIAL NUM BER:102310201181;
 9                 140) MAGELLAN ROADMATE 700;
 10                141) M AGEI,LAN ROADMATE 700SERIAL NtJM BER:102310452705)
11                 142) AUDIOVOX PERSONAI, DV D PLAY IîR 8'' SIIRIA I. N U M BER: '
12                      4447602800;

13                 143) IC POW ER IVCD M ONITOR W ITH SPEAKERS 19''SERIAIN UM BER:
                                                                            .


14                      7550T101l124;

15                 144) KDS USA 17'' LIQUID CRYSTAL DISPLAY SERIAI, N U M BER :
16                      1761631222080U ;

17                145) PROVIEW      15'' FLAT PANEL M ONITOR SERIAL NUM BER:
18                      17611763257576U ;
19                146) IN FOCUS PROJECTOR SERIAL NUM BER:APRCS29A13SS;
20                147) HITACHIIJCD PROJECTOR SERIALNUM BER:CPS4ZOW AR';
21                148) HITACHI LCD PROJECI'OR CPS42OW A SERIAL NUMBER:
22                      RT4l1000EO 8;
23                149) PENTAIR POOL SPECTRUM AMERLITE;

24                150) INTERMATICPOOLANDSPACONTROL;                                  J
25                151) PENTAIRCLEAN&CLEAR50CARTRIDGI:
                                                    'FIL'FER;                        1
26                152) I,OW RANCE DASH GPS LM S-339C SERIAI. N UM BER :100575481;
                                            9
      Case 2:06-cr-00210-LDG-VCF   Document 761     Filed 06/10/08       Page 10 of 48       I



     l              153) MOBILE BRAND ENTEIW AINMENT SYSTEM DVD 565, SERIA L             .


     2                   N U M BER:M 22300247;
     3              l54) FUNTV 5''M ONITOR (VEIIICLE)SERIALNUM BER:M28302438;
     4              155) TW O (2) GARM IN W ES'
                                              F MARm E 76C5 PLUS HANDHEI,D G PS
     5                   M ODEL 6938666;
     6             156) THREE(3)AQUALINK JANDY VALVE AC'FUATOR 4424;
     7             157) FOUR (4)JANDY HANDIIIT
                                             'LD REPLACEM ENT KIT 8261;
     8             158) A7'&T CORDLESS TELEPIIONE SYSTEM 5 8G llZ;   .


 9                 159) BOSE W AVE M USIC SYS'I'EM M ODEL/ AW RCCISERIAL NUM BER:
 10                      033975C52902076AC)
 11                160) TW O (2)SCIENTIFIC ATLAN'I'A CONVERTER BOX MODIEIV#S3OOH D ;
 12                161) BOSE CINEMATE HOM E THEATER SYSTEM SERIAL NUM BER:
 13                      037487952650125A 5;
 14                162) FOUR (4)MOTOROLA 2W AY RADIOSM ODEL HT1250 l,S;          -



 15                163) DIT
                          'W ALT STEREO DCOI1SERIALNUMBER:271340;
l6                 164) HUSQVARNA CHAIN SAW M ODEL43SO         -
                                                                   1S;                       1
17                 165) KDS FLAT PANEL M ONl'l'OR M ODEL # RAD S SERIAL N UM BER:
                                                                         -


18                      1540588 34000827)
19                 166) NEC FLAT PANEL LCD 2010 SERIALNUMBER:02000992CA;
20                167) NEC FLAT PANEL LCD 2010 SERIAL NUM BER:0201022CA;
21                168) NEC FLAT PANEL M ONITOR LCD 2032 SERIAL NUMBER:
22                      9700682CA11;

23                169) POW ERQUIPPOW ER W ASHER SERIAL NUM BER:10306 123966;         -



24                170) HUSQVARNA SCANDINAVIA 200 SEW m G M ACI-
                                                              IINE;
25                171) KYOCERA K-B ROYALE M ODELCELL PHONE;
26       ...

                                               l0
      Case 2:06-cr-00210-LDG-VCF     Document 761   Filed 06/10/08   Page 11 of 48                l
                                                                                                  I


     1              172) CYBERHOM E DVD PLAYER IN BLACK BAG SERIAI, N U M B ER :
     2                    CH LD V 7OOB;

     3              173) TW O (2)JANDY POOL DIGITAL ASSISTANT;
     4              174) M FNTEK MPD 1610PORTABI,E D V D PLA YER;
     5              l75) ACTRON AUTO SCANNER M ODEL CP 9l35;  -



     6             176) TW ENTY FIVE (25)NEW KITCHEN KNIVI:
                                                          'S IN PACKAGESVARIOUS
     7                   BRAN D S;

     8             177) POLYCOM SOUND STATION M ODEL 2W ;
     9             173) BOX OF ASSORTED POOIJSPA ACCESSORIES;
 10                179) CANNONDALEM OLJNTAIN BICYCLEJEKYLI. 6OO SERIA L N UM BER :
 11                      570158544 04020;
 12                180) MOTOBECANE MOUNI'AIN BICYCLI&' M OD lJ,l- 500DS SERIAI t              ,

 l3                      NU M BER :0000206939;

14                 181) DEW AL'FCIRCULAR SAW SERIAL NUM BII'It
                                                                     :46939;                      j
15                 182) EASY RIZER M OTORCYCLE JACK SERIAL NUMBIïR
                                                                           :QPL000022; 1
16                 183) M AGNAVOX PORTABLE DVD PLAYER M Pl)72O SERIAL NUM BER
                                                                                              :
17                       LL000415061358;

l8                184) PORTER CABLE TOOL KIT;
19                185) EM ERSON DVR & DVD RECORDER & VCR SERIA I- N UM BER:
                                                                      .


20                      1347517661A;
21                186) EM ERSON DVR & DVD RECORDER & VCR SERIAL NUM BER:
                                                                      .


22                      1346613556,4;
23                187) EM ERSON DVR & DVD RECORDER & VCR SER IA L N U M BER :
                                                                      .


24                      947517849A ;

25                188) HP 17''FLAT PANEL MONITOR SERIAL NUMBER:(7N C5372 850;
26                189) HP 17''FIXAT PANEL M ON II'()R SERIAL NtJM I3IJ'R:CNC 550 P7 1
                                                                                     -   3;
                                              I1



                                                                                                  I
          Case 2:06-cr-00210-LDG-VCF       Document 761         Filed 06/10/08    Page 12 of 48



          1             190) ACER 19',LCD M ONIT
                                                         O R;
          2             191) HP PAVILION PC SE
                                                      RIAI,NIJM BER:M XFSI7O3KT
          3                                                                                 ;
                        192) IC POW E 1939 LCD M ONI'I'OR W /SPE
                                                                              AK ERS SERIAL N U M BER:
          4                  75501 1012056
                                              ;
          5            193) KDS 17''I,CD M ONITOR
                                                         ,   SERIAL NUM BER:176E163123763U
          6            194) BOSE LYF                                                                )
                                           ESTYLE 38 IIOM E ENTERTAINM ISNT
      7                      N U M BER                                                     SY STEM SERIA I,
                                         :034780941951372A 5)
      8                195) BOSE W AVE MUSIC SY
                                                         STEM SERIAL N U M BER :03 397 6C5192
      9                                                                                                  557
                             OA C;
     10                196) BOSE W AVE MUSIC
     11                                              SY SI'F?M SERIA L N UM B ER :033 97 6C 5192 556
                            SA C;
     12               197) SAM SUNG 17''LC
                                                  D M ON I'l'
                                                            OR;
     13               198) TW O (2)LACIE 321C
                                                    OM PU'IX'R M ON ITO R;
     14               l99) TOSHIBA COM PUT
                                                   ER M O N ITO R ;
 15                  200) BOSE HOM E ENT
                                                   ERTA INIV IEN T SY STEM            SERIA L N U
 16                                                                                                 M BER:
                           4122951830289A5;
 17                  201) TOM TOM PORTAB
                                                  LE GPS NAVIGATION SYSTEM
 18                                                                                    ;
                     202) TOM TOM GPS NAVIGATION SYSTISM
 19                  203) TWO                                          ;                                     t
                               (2)DEW ALT 18VOI,7'4-'1,()()L CO M BO KIT;
20                   204) EM ERSON DVD REC
                                                   ORDER & VCR COM BINATION
21                                                                                      ;
                    205) JVC FLAT SCREEN LCD TV M ODEL#GM               -
                                                                            lI4OI,lG SERIALNUM BER:
22                        160C0133
                                     ;
23                  206) BAG CONTAINING
                                                   D VD PI.A Y ER , M O N ITO R
24                        NU M BER                                                ,    CO RDS SERIA I,
                                     :5130300388 03015014;
25                  207) DYSON VACUUM C
                                                   LEAN ER M O D EL D CO 7 SERIA I
26                                                                                          .   N UM BER :
                          180tJ5.446532;

                                                    12
      Case 2:06-cr-00210-LDG-VCF   Document 761     Filed 06/10/08   Page 13 of 48
                                                                                                 i
                                                                                                 I

     1             208) PALOMA TANKLESS W ATER HEATER MODEL PTG42PV;
     2             209) APPLE 05POW ER M AC SERIALNUMBER:08534EXURUZ;
     3             210) HEW LETT PACKARD PAVILION A1483W PC SERIAI. N UM BER :
                                       /
     4                   M X FG IG OR G 3;
                                                                                             1

     5             211) HEW LETT PACKARD PAVILION PC ,41483W SERIA L N UM BER :

 6                       MXF61707Z8;                                                         l
 7                 212) HEW LETT PACKARD PAVII.ION PC A1483W ;
 8                 213) HEW LETT PACKARD PAVII-ION PC Al483W ;
 9                 214) HEW LETT PACKARD PAVII.ION PC A1483W ;                               ,

 10                215) HEW LETI'PACKARD PAVII,IO N M ED IA CEN TER 517463W SIïItIA I.
 11                      N UM BER:M XFE 17O(JW 3;

 12                216) COM PAQ PRESARIO PC MODEL SRl8O3W M SERIAL NUM BIîR:
13                       CNHGl4OC3P;
14                 217) EM ACHINES M ODEL W 3118DESKTOPPC;
15                 218) EM ACHINES M ODEL W 3l18 DESKTOP PC SERIAL NUM BER: '
16                      CCA G4M O O 3004G ;

17                 219) HP PAVILION PC M ODEI- A 1253W -B SERIAL N U M BER:
l8                      M X FG IG O4N I;
19                220) M AGNAVOX 15'5LCD TV MODEL//15MFEO5T SERIAL NUM BER:
20                      8Z2A 0548282509;
21                221) IC POW ER 151' FLAT PANEL M ONITOR SERIAL NUM BER:
22                      7611TD OI0286;
23                222) XBOX 360;
24                223) POLARIS BOOSTER PUM P;
25                224) GLOW BOUY POOL LIGIIT 'IW G PRICE 19999; .


26       , . .




                                              13                                         '


 rr
                                                                                         1
          Case 2:06-cr-00210-LDG-VCF     Document 761     Filed 06/10/08       Page 14 of 48



          1            225) M OTION SENSING SECURI'I'Y LIGHTJ
                                                                        O U RN EY M AN SERIES M OD EL
      2                       #HD 9ZG O BZC
                                                 ;
      3                226) GARMIN GPS MONITOR AND M OU
                                                                   NT IN PELICA N C ASE;
      4                227) BOSCH AQUASTAR TANKI,ESS G A S W A'FER H EATER M O IJIIL# 250
      5                      SX LPk

      6                228) NINE (9)HAYW ARD POOL PRODUC
                                                                   TS 4'UN IV ERSAL HO SE SET 10
      7                      PA CK ;

      8               229) OPTIX LED UNDERCAR KI'l'
                                                          ;
     9                230) STARVISION M ULTIM EDIA DISC PL
                                                                   AY ER DV D-SOT;
     10               231) IJNIDEN 58 G H CA LLER II) CO RD LESS PIIO N E AN SW E
                                         .
                                                                                               RIN G
     11                     M ACHINE SET
                                                 ;
 12                   232) DIESEL AUDIO LCD MONITOR
                                                                        W ITl1 RA D IO   RECEIV ER
 13                         N S- 7-M D A SH ;
                                                                                                            '

 14                   233) VENTURER 'rW m 7''DV D BACKS
                                                               EAT TH lfA 'I'l7
                                                                              ,R SI
                                                                                  fRIA L NU M BER :
 15                        14542101713160742                                                            $
                                                 )
 16                   234) KONICA M INOLTA M AXXUN SD DIGIT
                                                                        A L C A M ERA;
 17                  235) NORELCO 91GOXL ELECTRIC RAZO
                                                                   R;
 18                  236) PORTFOLIO 48'FLEXIBI,E RO PE LIG H T;
 19                  237) NEXTEL BLACKBERRY 7520SERIAL
                                                                   N U M BER:400C4l39BB;
20                   238) PANASONIC 58GHZ PH ON E M O D EL KX
                                             .                      -
                                                                        TG5423M SERIALN UM BER:
21                         514A X .4042468)

22                   239) AQUA VU SCOUT SRT;
                                 -


23                   240) JAN                                                                          !
                               D Y H AN DH ELD POO L M ON ITOR ;
24                  241) TRIKON CK K1T CAMERA 'I'RIPO
                                                              D;
25                  242) AM ERICAN STANDARDEI,IR'E 'FIIERM O SX'A I'IC CO NTRO LTUB AN D
26                        SHO W ER Slï7'
                                         ;                                                           l
                                                     14
     Case 2:06-cr-00210-LDG-VCF   Document 761   Filed 06/10/08   Page 15 of 48




     1             243) ORAL-B TRIUMPH ELECTRIC TOOTHBRUSH;
 2                 244) POOLEYE POOL ALARM M ONITORING KIT;
 3                245) IN'PERM ATIC TIME SW l'l'CII;
 4                246) TW O (2)INTERM ATIC MODEL TIOIM TIM E SW ITCH;
 5                247) TW O (2)JANDY POOL ACCESSORY KIT;
 6                248) TIIREE (3)LAARS W IRELI:
                                              'SS CONTROL PANEL M ODEL//8227;
 7                249) QS BRAND AUTOMOTIVE DISC BRAKE PAD;
 8                250) BOSCH AQUASTARTANKI,ESSGASW ATER HEATERM ODELV1258
 9                      NG;

10                251) FOUR (4)NATUREZPOOI,PURIFIER CARTRIDGF;       .



11                252) GOLDI,INE W IRELESS P()OL CONTROL DISPLAY;
12                253) STARBUCKS BARISTA fIOM E ESPRESSO M ACIIINIS
                                                                  ';
13                254) POLARIS 340POW ER TOOl,;
14                255) TW O (2)POLARISHIGH REFLECTIVE POOL LIGHT REPI,A CEM EN T
15                      BU LBS;

16                256) TW O (2)NAGRA V TW IN DRIVE POW ER PACK;
17                257) POOL PUM P;
l8                258) FIVE (5)PRICE PFISTER FAUCET MODEL ll?533-SOBD;
19                259) NATUREZ NATURAL POOL PURIFIER;
20                260) GARMIN MODEL #60C COLOR M AP NAVIGATOR;
21                261) HAYW ARD AUTOM ATIC SKIM VAC PLATE MODEI, 117W 491R;
22                262) HAYW ARD DESERT W I-lT PROPULSION/CONVERSI;
23               263) THREE (3)WATERPIK W IREI.ESS OUTDOOR JBOX KlT 8421;
24               264) LIFESOURCE BLOOD PRESSURE M ON ITOR M ODEI. UA -787V ;
25               265) HAYW ARD POOL AUTOM ATIC AIR RELIEF M ODEL ll7DEX242OAR;
26               266) JANDY 7443AQUALINK I7()tJR FUNCTION SPA Sll7E SW I'l'Cll;
                                            15
         Case 2:06-cr-00210-LDG-VCF     Document 761   Filed 06/10/08      Page 16 of 48
                                                                                           $


     1                267) JANDY PART N O R0441900 POOL PUM P;
     2                268) SYLVANIA W IRELESSVIDEO SYSTEM 24 G I.lZ;   .


     3                269) JANDY W ATERPIK SPALINK SPA SIDE CONTROL;
     4                270) CANON GL-2 VIDEO CAMCORDER;
     5                271) TW O (2)JANDY SHEER DESCENT W ATERFALI, 365'1203003 SERIA L
     6                      N U M BER:203-3451203- 3444;
     7                272) JANDY SHEER DESCENT W ATERFALL 24'' SERIAL NUM BER:
     8                      202-3243;

     9                273) GOLDI,INE POOL CONTROL BOX;
 10                   274) HAYW ARD POOL PUM P W l'l'lIHDHELD POOl, CONTRO I,M OD EL//
 11                         8261;

 12                   275) PUREX TRITON M ULTI-PORT SW IM MING POOl SYSINEM M O DEL//
                                                                             -


 13                        261142;

 14                  276) TW O (2)GOLDLINE TURBO CELL 15;
 15                  277) CANON DVD CAM CORDER SERIAL NUMBER:452090122340;
16                   278) JBL SPEAKER SERIALNUM BER:J204 039615;
                                                               -



17                   279) JBL SPEAKER SERIAL NUM BER;J204 041648;
                                                               -



18                   280) SAM SUNG PLASMA TV M ODEL// 514R4232 SERIA I. N UM BER :
                                                                   -


19                         39Y F3C M Y C01244J;

20                   281) INFOCUS PROJECTOR IN BI-
21                         ANDCSI7014G4    9
                                                       ACKROLLINGBAGSERIALNUMBER:J
22                   282) DELI,PROJECTOR M ODI1'l.# 330M P IN BLA CK CA SL';
23                   283) CANON PROJECTOR SX60 IN CASE;
24                   284) JURA IM PRESSA 25 CAPUCCIN O M AKER;
25                   285) M '
                            INTEK PORTABLE DVD PLA YER M ODEL//M DP1O2O ;
26       ...

                                                  16
      Case 2:06-cr-00210-LDG-VCF      Document 761      Filed 06/10/08      Page 17 of 48                    I
                                                                                                             t

      l               286) BOSE ACOUSTIC W AVE M USIC SYSTEM SERIAL NUM BER:
      2                     023583C21920329A 62;
      3              287) DELL FLAT PANEL M ONITOR SERIAL NUM BER:11SD I44l;
     4               288) DELL FLAT PANEL MONITOR M ODELVEI7IFPB
                                                                               ;
     5               289) DELL PRINTER COPIER COM BO SERIAI, N U M BER:BFC 7Z4;
     6               290) SHARP FLA'FSCREEN TV SERIAL NUM BER:018097;
     7               291) APPL/JFLAT PANEL M ONl'fOR SERIAL NUMBER
     8               292)NECFLATPANELMONI-
                                         I'
                                          ORSERI
                                               ALNUMBER:NS4O23C2NAF; j       ;8800295 CA R ;
     9               293) DELL FLAT           PAN LTL M ()NlTOR            SERIAL N U M B ER :
 10                        CN 0T6l16-71618-4AG -A EC Z;and
                                 -




 ll                  294) SAMSUNG FLAT PANEI, M ON ITO R M OD IîL//1931'S.
 12           (i)    BLUE 1998BOAT TRAILER, CA LIFO RN IA LICEN SIïPLA TE 417W 7275
                                                                                               ,   Vm :
 l3                  IM D D W Y M I1W A 971743;

 14          ()     THE CONTENTSOFTHE STORAGE UNI'r#207LOCATED AT ALL STORAGE
 15                 LA S V EG A S, 3290 N O RTH RAN CI10 DRIV E
                                                               ,   LA S V EG A S,N EV A DA :
16                  1)     NIGHT VISION GOGGLES W ITH BATTIïRIES IN BAG
                                                                                         .   SERIA L
17                        N UM BER :12145;

18                  2)    DYSON DCO7VACUUM CLEANER SERIALNUMBER:lsO-US-A 46773)
19                  3)    PLAYSIW TION 2 GAM E SYSTEM SERIAL NUM BUIR
                                                                                   :13TG 30 819355;
20                  4)    PLAYSTATION 2GAM E SYSTEM SERIALNUM BER:P-1-414092097;
21                  5)    DEW ALT PALM SANDER SERIALNUMBER;974762;
22                  6)    DEW ALT RECIPROCATING SAW SERIAL NUM BER
                                                                                ;760840;
23                  7)    M ILW AUKEE DEEP CUT EJZJD SAW                    SERIAL NUMB
                                                                                                   ER:
24                        769 P4051502524
                             -




25                  8)    TW ENTY-SIX (26)EDELBROCK ELECTRIC Cl1OK15KI'l'
                                                                                     ;                   J
                                                                                                         '
26                  9)    EDELBROCK STEEL FUELI,
                                                       lNl:
                                                          '
                                                          ;                                              l
                                                  17
         Case 2:06-cr-00210-LDG-VCF      Document 761    Filed 06/10/08   Page 18 of 48



      l                10)     FORTY-FOUR (44)EDELBROCK ELECTRIC CHOKE KIT
                                                                                             ;
     2                 11)     THREE (3)PRO TAPER HANDLE BAR CLAM P
                                                                              ;
     3                12)      FOURTEEN (14)PRO TAPER IIANDLER BARS;
     4                13)      LIFESTREAM CHOLESTEROL MONITOR;
                                                                                                           ,

     5                l4)     S1X (6)NIKE GOLFBALI, SIW S;
     6                15)     NINE (9)EDELBROCK FUEL LINE KIT;
     7                16)     PETSAFE DOG COLLAR;
     8                17)     TW O (2)SLYVANIA LIGIl1'BUI- BS;
     9                l8)     DYSON VACUUM DC 14SY SERIAI, N U M BER 228-175-.4-35785;
 10                   19)     DYSON VACUUM DC 14SY SERIAL NUM BER 228             -
                                                                                      US -A-2 0628 ;
 ll                   20)     DYSON VACUUM DC 14SY SIîRIAL NUM BER:l79-US -B -51280;
 12                  21)      DYSON VACUUM DC 1451'SERIAL NUM BER
                                                                          :228-05-A -20652;
 13                  22)      DYSON DC O7SLA 7NT;
                                                -



 14                  23)      TEN (10)VECTOR POW ER INVERTER MODEI, N UM BER V ECO SID ;
 15                  24)      SINGER SEW m G MACHINE MODEL NUM BER145H654
                                                                                         ;
 16                  25)     KITCHEN A1D PROFESSIONAL M IXER SERIAL N
                                                                                                 UM BER:
17                           K V2SG OX - W R 5066-177;

18                   26)     KITCHEN AlD M IXER SERIAL NUMBER:KN 1SE IX -W R42627l9;
19                   27)     DEW ALT HAMM ERDRILI, M ODEL NUM BER DC9881A;
20                   28)     DEW ALT CORDLESSDRIVER MODEL NUM BER DWO5G
                                                                                             K-2;
21                   29)     SCOOBA FLOOR W ASHING ROBOT M ODEL NUM BER 5
                                                                                         900;
22                   30)     m FOCUS PROJECTOR SERIAI. N UM BER:ANQN44000G lS;
23                  3l)      THIRTEEN (13)M SD IGNITION PRODUCFS COIL FORD
                                                                                        ;
24                  32)      TW O (2)M SD IGNITION PRODUCTSC()1L GM EX-I'ER
                                                                                       N A L;
25                  33)      TEN (10)M SD IGNITION BLASTER 2COIL;
26                  34)      M ILW AUKEE 13/4''ROTARY 1IAMM ER SERIAI
                                                                          ,   N UM 13l$
                                                                                      .
                                                                                      'R:5346-21;
                                                    18
     Case 2:06-cr-00210-LDG-VCF   Document 761    Filed 06/10/08    Page 19 of 48   I
                                                                                    l

     1            35)    M ILW AUKEE %''HOLEIIAW G DRILL SERIAL NUM BER:1675-6;
     2            36)    M ILW AUKEE SAW ZALI,KIT SERIAL NUM BER:6519 22;  -



     3            37)    LINCOLN ELECTRIC POR'IQA-TORCH SERIAL NUMBER:KH657;
 4                38)    IPOD 30GB SERIAL NUM BER:JQSIIOTTSAY;
 5                39)    IPOD 30GB SERIAL NUMBER:JQSIISSLSAY;
 6                40)    IPOD 30GB SERIAL NUM BIïR:JQSIIZNDSAY;
 7                41)    IPOD 30GB SERIALNUM BER:JQSI1SW M SAY;
 8                42) IPOD30GBSERIALNUMBER:JQSIIOJSSAY;                             1
 9                43)    IPOD 30GB SERIAL NUM BER:JQSI12S2SAY;

 10j              44) IPOD30GBSERIALNUMiJER:JQSIIOCRSAY;
 11               45)   IPOD 30GB SERIAL NUM BER:JQSIIOFFSAY;
12                46)   IPOD 30GB SERIAL NUMBER:JQSIIZUESAY;
13                47)   IPOD 30GB SERIAL NUM BIfR:4USO92TCSA Y;
14                48)   IPOD 30GB SERIALNUM BI:
                                              'It:JQSIIOQiISAY;
15                49)   IPOD 30GB SERIAL NUM BER:JQSIIOLUSAY:
l6                50)   IPOD 30GB SERIAL NUM BIIR:JQSIIZPASAY;
17               51)    IPOD 30GB SERIAL NUMBER:JQSIIOZQSAY;
18               52)    IPOD 30GB SERIAL NUM BER:JQSIOITM SSAY;
19               53)    IPOD 30GB SERIAL NUM BER;JQSIIOC7SAY;
20               54)    IPOD 30GB SERIAL NUMBI:
                                              'It:JQSI12M4SAY;
21               55)    IPOD 30GB SERIALNUM BiIR:JQSIlOUSSAY;
22               56)    IPOD 30GB SERIAL NUMBER:JQSIIOEGSAY)
23               57)    1POI)30GB SERIAI,NUM BER:JQSIIOJRSAY;
24               58)    IPOD 30GB SERIAL NUM BFR:JQS0788XSAY;
25               59)    IPOD 30GB SERIAL NUMBER:JQSI1IAASAY;
26               60)    IPOD 30G13SERIAI, NUM l3IT
                                                 'II:JQS1I9CSSAY;
                                            19
     Case 2:06-cr-00210-LDG-VCF      Document 761   Filed 06/10/08   Page 20 of 48        '

                                                                                          $
                                                                                          j
                                                                                          '

     1            61)    IPOD 30GB SERIALNUM BER:JQSIIZPIISAY;
 2                62)    IPOD 30GB SERIAL NUMBER:JQSIIOTQSAY;
 3                63)    DYSON VACUUM M ODELNUMBER DC O'
                                                       /SY-BC SERIALNUM BER:
 4                       1l0-U S-G -467l0;
 5                64)   DOLPHIN ROBOTIC POOL CLEANING SYSTEM M ODEI, N U M B ER
 6                      8429;
 7                65)   HP PAVILION PC AND M ONITOR M ODEL NUM BER A l253W B ;       -



 8                66)   PASLODE CORDLESS NAILER IG GA SL'RIAI- N U M BER:
 9                      060 251'01448 ;

10                67)   DEW ALT CORDLESS DRIVER M ODEL NUM BER DW OSGK-Z;
11                68)   DEW AL'I'IIEAVYDUTYDI''
                                              .M O HA M M ER M OD ELN U M BEI
                                                                            :132590011;
12                69)   DEW ALT T 'CORDLESSCOM PACTDRILLDM VERMIIDEI, N tJM B ER
13                      DC 7SK A ;

14                70)   TW O (2)BOE-BOT ROBOT KIT M ODEL NUM BER 28132;
15                7l)   TW O (2)GPSM AP 398-GARM lN;
16               72)    OI,EVIA LCD M ULTIM EDIA DISPLAY SEIUALNUM BER:LRQGEKM ;
17               73)    SANYO LCD TV,20''SERIAL NUM BER:CIvT2054;
18               74)    TW O (2)OM RON HEART ltAI'
                                                 E M ONITOR M ODEL 4fIR 100C;-



19               75)    TW O (2) OM RON W RIST BLOOD PRESSURE M ONITOR M (7DEI.
20                      N U M BER H EM -637)

21               76)    TW O (2)DLO TRANSPOD -AI4. IN ONE CAR SOLUTION IPOD;
22               77)    TW O (2)SONY CYBERSHOT M ODEL NUM BER DSC-NI;
23               78)    FOUR (4)CLEAR BLUE EASY FERTILITY M ONl'1-OR;
24               79) FOUR (4)GPS MAP 76CX-COLOR MAPNAVIIJATOR;
25               80)    HARMONY ADVANCED UNIVERSAL REM OTI:
                                                          '890;
26               81) SPRINT BI.ACKBERRY M Ol)El,NUMBER RAItZIICN;
                                               20



 r                                                                                        /
     Case 2:06-cr-00210-LDG-VCF     Document 761   Filed 06/10/08   Page 21 of 48




     1            82)    LIFESTREAM PLUS 3M INUTE CHOLESTEROI,MONITOR;
 2                83)    CANOBDZ-INNOVM I1O;
 3                84)    ADOBE PHOTOSHOP ELEM ENTS 40;   .



 4                85)    INNOTEK DIGITALADVANCED TRAINER FOR DOGS;
 5                86)    TWO (2)HARMONY ADVANCED REM OTE 520;
 6                87)    OBD2CODEREADER INNOVA 310CC;
 7                88)    VIVERA HP m KS 95.97;
 8                89)    SEASON SIXSDVDSSEX ANI)THE CITY;
 9                90)   GAM EBOY ADVANCE SP;
10                91)   R'I'
                           IREEI3IW ESTEM DIGIGI'AI,HARD DRIVE60GB SERIALNUMBER:
11                      W D 600UO 17;

12                92)   GARM IN E'INREX VISTA HIKING COM PANION ;
13                93)   W ALGREEN'SDELUXEW RIS'FBLOODPRL'
                                                        ,SSURE M()Nl'I'OR SERIAI.
14                      NU M BER :313W ;

15                94)   TW O (2) TEXAS INSTRUM ENTS ADVANCED GRAPHm G TI-89
16                      TIIN
                           A NIU M ;

17                95)   HARM ONY ADVANCED UNIVERSAL REM OTI'
                                                           J880)
18               96)    CRUZER M INIUSB FLASIIDRIVE lOG B;
                                                         .


19               97)    HP PHOTOSM ART M ODEI.#M -417 SERIAL NUM BER:CNS6E3SPW 8;
20               98)    DIGITAL M ULTIMETER FLUKE MODEL //73-111SERIAL NUM BER:
21                      90240039;

22               99)    HP REM OTE SERIALNUM BER:Q6400-6002;
23               100) FOUlt (4) PETSAFE IN-GROIJND FENCE SERIAI- N U M BER:
24                      PIG 00-10673;
25               101) TW O (2)PETSAFE DELUXE IN-GROUND FENCE SERIAI, N U M BER :
26                      PIG 00-1074;

                                            2l
     Case 2:06-cr-00210-LDG-VCF   Document 761     Filed 06/10/08   Page 22 of 48   t
                                                                                    :




     1            102) HARM ONY UNIVERSAL REM OTE 720;
 2                103) PETSAFE BARK CONTROL SERIAI,NUMBER:PBC00-10677;
     3            104) M ICROSOFT OFFICE STUDENT TEACLIER ICDITION 2003;
 4                105) DELPHIXTM SATELLITE RADIO;
 5                106) DEW ALT 14.4 VOLT 4 TOOL COM BO M ODEI, #DD SRLCPI;
 6                107) NIGHT VISION SERIAL NUM BER:72223;
 7                108) DYSON M ODEL #DCI4SL-ANISERIAL NUM BER:175-U5 E46806;  -



 8                109) PETSAFE BIG DOG REM G I'E TRAINER;
 9                l10) TW O (2)DEW ALT COM BO ,1'001, KlT M O DI1'I,F/DC4K ITA ;
 10               1l1) RICCAR APIERICA VACUUM 8955 SERIAI- N UM BER :4CC046220;
11                112) RICCAR RADIANCE M ODEL VRAD SERIAL NUMBER:4C0004771;
12                113) M AGNAVOX 15''LCD M ONITOR M ODEI, #15M 1.
                                                                '400T/37)
13                114) SIX (6)BOXESDOZEN NIKE ONE GOLFBALLS;
14                115) BOX DOZEN NIKE ONE GOLFBALLS;
15                116) TW ENTY-THREE (23) M SD IGNITION PRODIJCTS COIL GM
16                     EXTERNA L PA RT //8226;
17                117) PULICAN CASE W ITH COM MERCIAL LIGII'I'ING EQUIP 4 LIGH TS
                                                                              .


18                     AN D M ISC .CO RD S;

19               ll8) BLUE TRUNK CONTAIN IN G COM M ERCIAL LiGHTING EQUIPM ENT;
20               119) PETSAFE BARK CONTROL;
21               120) TW ENTY-SIX (26)ACTRON POCKET SCAN IN PLASTIC CONTAINER
22                     M O DEL #CP9125;

23               121) ACTRON AUTO SCANNER M ODEL #CP9135 SERIAI, NU M BER :
24                     238690;

25               122) THREE (3)ACTRON SUPER AUTO SCANNER IN Bl.lJ1sl.ID PI,A STIC
26                     BOX SERIAL NUM BER:

                                              22
      Case 2:06-cr-00210-LDG-VCF     Document 761      Filed 06/10/08   Page 23 of 48
         $                                                                                   t
                                                                                             I
                                                                                             .




     1              123) DYSON DC14 VACUUM SERIAL NUM BER:230 U S-A -32794)
                                                                         -



     2             124) DYSON DC14 VACUUM SISRIAL NUM BER:175-US -D -85988;
     3             125) DYSON DC14VACUUM SERIALNUMBER:229-US-A -36846;
     4             126) DYSON DC14VACUUM SERIALNUMBER:229-U5-A -36842;
     5             127) DYSON DCISVACUUM SERIALNUMBER:190-US -B -42190;
     6             128) DYSON DC15VACUUM SERIALNUMBER:190-US-B-42 186;
     7             129) DYSON DCIS VACUUM SIEïItIAI. N UM BER :190-U S-B-13487;
     8             l30) m FOCUS PROJECTOR SERIAL NUMBER:APRCS29AO2S3;
     9             131) COM PAQ PRESARIO MODEL #SR18O3WM SERIAL NUM BER:
 10                      CN H EO91SB7;

 11                132) COMPAQ PRESARIO MODEL '/SRISO3W M SERIAL NUM BER:
 12                     CN H EO91SB4;
 13                133) W fII-I'
                               lï'S M XT TRACKER M ETAL DETECTOR;
 14                134) RICCAR RADIANCE VACUUM CLEANER IN BOX;
15                 135) RICCAR RADIANCE VACUUM CLEANER IN BOX;
16                 136) DELL OPTIPLEX DESKTOP CPU M ODEL #GX260 SERIAL NUM BER:
l7                      D JN PSZI;
18                137) DEW ALT '1'OOL COM BO KlT M ODEL #DDSRLCPI;
19                138) HP PA VILION          PC    M ODEL 4,41473W      SERIA I, N UM BER:
20                      M X K G IG O SPW ;

21                139) SCOOBA IROBOT FLOOR W ASHING ROBOT;
22                140) SIX (6)SIX FLAGS BANZAIFALLSW ATER SLIDE;
23                141) BOSCH BI,UE CORE POW HR DRILL SERIAL NUM BER:584009635;
24                142) LINCOLN ELECTRIC 3200 LID W ELD PAx SERIAL NUM BER;
25                      542060104307;
26       ...

                                                  23
     Case 2:06-cr-00210-LDG-VCF   Document 761      Filed 06/10/08   Page 24 of 48
                                                                                        l




     1             143) MIDTRONICS ELECTRONIC BATTERY TESTER SERIAL NUMBER:
     2                  0 904260075;
     3             144) EDELBROCK 1478ELECTRONIC CHOKE KIT ;
 4                 145) SINGER CE-l00SEW ING M ACHINE SERIALNUMBER:155 1698;       -



 5                146) SINGER CE-100 SEW ING M ACHINE SERIAI, N U M BER:154-1677;
 6                147) SINGER CE-100 SEW IN G ICUTURA SERIAL NUM BER:153 1668; -



 7                148) W IIITE'S M XT M ETAL DE'I'II'CTOR;
 8                149) W HITE'SM XT METAL DETECTOR;
 9                150) MAGNAVOX 15'5LCD '
                                        I'V MODEL #15MF400T/37;
 10               151) BLAUPUNKT IN CAR VIDEO MONITOR SERIALNUM BER:CHICAGO
11                      lVD M -7002;
12                152) CRAFTSM AN ANGLE FRAM ING NAILER M ODEL //18179;
13                153) CIG I7TSM AN 348PIECE M IïCIIANICS TOOL SE7';
14                154) IROBOT ROOM BA SCIIEDULIIR VACUUM M ODEL //4230;
15                155) DEW ALT 1235SINGLE B1fVEl,, HEAV Y D UTY CO M POLJN D M l'I'ER
16                     SA W M OD EL #D W 7IS;

17                156) HP PAVILION PC W I'l'II M ONITOR M ODEL #A 1243W SERIAL
18                     NU M BER :CN HEO3O W 49;
19                157) HP PAVILION PC W ITH M ONITOR M ODEL #A1243W SERIAI,
20                     N UM BER:CN H6O21DTZ;

21               158) HP PHOTOSMART 425V SERIALNUM BER:CNS6QI71C7;
22               159) FOUR (4)GARM IN GPSMAP 'FECX;
23               160) CANON M OD EP COM PU'I'ER PRINTER CARTRIDGE;
24               161) CANON POW ER SllO'l'DIGITAI, CA M ERA M O D EL #A 520 SERIA L
25                     N U M BER :97l5A 00l;

26               162) BRAUN SYNCO SYSTEM 7000SERIES;

                                               24
      Case 2:06-cr-00210-LDG-VCF     Document 761   Filed 06/10/08   Page 25 of 48
                                                                                             1
     1              163) W ESTERN DIGITAL EXTERNAL M D, 160 GB;
     2             164) MAXTOR 300GB HD SERIALNUM BER:L61G93RH;
  3                165) PANASONIC DIGITAL CORDLESS ANSW ERING SYSTEM SERIAL
  4                      N UM BER:K X -T5633B;

  5                166) IROBOT ROOM BA DISCOVERY;
 6                 167) SINGER SEW ING M ACIIINE M ODEL #CEIOO SERIAL NUM BER:
 7                       155-1698;

 8                 168) HAYW ARD POOL VAC UI.TRA SERIA L N UM BER :3090-013 112;
 9                 169) HAYW ARD POOL VAC SERIAI- N UM BER:30 317-374497;
 10                170) HAYW ARD POOL VAC SERIAI- N U M BER :3030-374500)
 1l                171) LIAYW ARD POOL VAC Sf:
                                             'ltIAL NUM BER:3031) 374493;
                                                                      -



 12                172) HAYW ARD POOL VAC SERIAI- N U M BER :3090-013226;
13                 173) HAYW ARD POOL VAC ULTRA SERIAL NUM BER:30313 374491;  -
                                                                                         ,


14                 174) TWO(2)PHILIPSSONICARI'
                                             .TOOTHBRUSLICRESTINTELLI-CLEAN 1
15                      SY STEM ;
16                 175) CREATIVE ZEN M IClt() M PS PLAYER SERIAI, N UM BER :
17                      51114121080506033829Q;
18                 176) CREATIVE ZEN M lCR() MPS PLAYER SERIAL NUMBER
19                      511P121080506017963W )

20                177) OM RON PORTABLE BLOOD PRESSURE W RIST M ON ITOR M ODEL
21                      4tiIEM -629;

22                178) OMRON W RIST BLOOD PRESSURE M ONITOR M ODEL NUMBER
23                      HEM-637;                                                     1
                                                                                     '


24                179) PETSAFE DELUXE REM O'I'IïDOG TRAINER;
25                180) FIVE (5)CLEAR BLUE EASY FERTILITY M ONITOR;
26                181) GARMIN GPS MAP 76X C()I-O ltM A P NA V IGA 'ID R;

                                             25



                                                                                     $
     Case 2:06-cr-00210-LDG-VCF   Document 761   Filed 06/10/08   Page 26 of 48




 1                182) XBOX 360 W IRELESS NEI'W ORK ADAPTOR;
 2                183) TW O (2)XBOX 360W IRELESSCONTROLLER;
 3                184) PETSAFE BIG DOG REM OTE TRAIN ER;
 4                185) PETSAFE LITTLE DOG RIT
                                            'M OTE TRAINER;
 5                186) W ESTERN DIGITALEXTERNALHD,250GB M ODEL#W D2SOO (2032;
 6                187) PETSAFE BARK CONTROL;
 7                188) TEXAS IN STRUM ENI'S Ti 89 TITANIUM ADVANCED GIG PIIm G
 8                      CALCU I,A TOR ;
 9                189) SONY PSP PI,AYSTATION PORTABLE;
10                190) TW O (2)M ICROSOFT OI7l''lCE 2003 STUDENT TEACHER EDITION;
ll                191) IIIJSQVARNA VIKING DESIGNER iEEE SEW ING M ACHINE;
12                192) HUSQVARNA VIKING DESIGNER SEW ING MACHINE;
13                193) XBOX 360 W IRELESSNE'
                                           I'W ORK ADAPTER;
14                194) TETRATIC COM PACT AQ UARIUM FILTUR;
15                195) I,IFESTREAM CHOLESTEROI,M ONITOR;
16                196) PSP M ADDEN GAM E;
17                197) EDELBROOK FUEL LIN E ACCESSORY;
18                198) ROGAINE FOR MEN;
19                l99) PETSAFE COLLARLESS 'I'RAINER;
20                200) DEI.I.FI.OPPY DRIVE;
21               201) TW O (2)BRAUN 7000 SERIES REPLACEMENT FOILS;
22               202) DRIVE RIGHT CAR CHIP;
23               203) AUTOXRAY EZ ROAD 2000 SERIAL NUM BER:P/N 705-0001-0024;
24               204) AU'LOXRAY CODESCOUT)
25               205) ADD-A-LINK (PETSAFE)IJOR DOGS;
26               206) HP Pll()'l'OSMART 420 SL'
                                              .ItIfI
                                                   'S MANUAL;
                                           26
     Case 2:06-cr-00210-LDG-VCF   Document 761    Filed 06/10/08   Page 27 of 48




     l            207) M ISC OBD-IIATTACHM ENT/CONNECTOR;
 2                208) LG FLATON 19llLCD MONITOR M ODEL #L19505-SN;
 3                209) SURVEY RULESIN RED CASE;
 4                210) DEDOI,IGIIT LIGHTFNG EQUIPM ENT IN BLACK CASE;
 5                211) KODAK PICTURE M AKIïR CONSOLE SERIAL NUM BER:SCUA 1273;
 6                212) SlX (6)FOX RACING PAN'I'S;
 7                213) El.IS
                           'VEN (11)FOX RACING LONG SLEEVE JERSEY;
                           .
 8                214) NINE (9)FOX RACING SW EATSHIRTS;
 9                215) FOX IG CING CHEST PRO'
                                            I'ECTOR (RED);
10                216) KODAK EASY SHARE P11O'l'O PRINTER M ODEL C310;
11                217) F()R-l'Y-S1X (46)PETSAFE '
                                                I'RAINING COLLARS;
12                218) TIIREE (3)PETSAFE IN-GROIJND FENCES;
13                219) Pl:
                         ''l'SAFl'
                                 :
                                 'TRAINER;
14                220) I'IP PHOTOSM ART SCRAPBOOK PHOTO S7'UDlO;
l5                221) NINE (9)FOX RACING AND KBC HELM ETS;
16                222) THIRTEEN (13)RACIN G GOGGLES;
17                223) W IIITE TRASH CAN;
18               224) LIFESTREAM 3M INUI'E ClIOI,ESTEROI-M ONITOR;
19               225) KORG CONCERT PIANO C-45;
20               226) DYSON VACUUM DC14;
21               227) DYSON VACUUM DC14;
22               228) DYSON VACUUM DC15;
23               229) FIVE (5)MILW AUKEE 4-PACK COM BO KIT MODEL //0928-29;
24               230) FOUR'I'EEN (14)DEW ALT 18V STOOL COMBO KI'l';
25               231) NINE (9)SEX IN THE CITY 20DISC SEASON BOX SE'
                                                                  1';
26               232) BISSEIXL PROHEAT 2X UPRIGIIT CLEANER;
                                             27
     Case 2:06-cr-00210-LDG-VCF   Document 761   Filed 06/10/08   Page 28 of 48




 1                233) RICAR AM ERICA VACUUM 8955;
 2                234) HOOVER Z-400UPRIGLI'I'VACUUM ;
 3                235) PHOENIX GOLD 1000DUAL 12''TOTAL BASS PACKAGE;
 4                236) COLEMAN POW ERM ATE PORTABLE ELECTRIC GENERATOR;
 5                237) FIVE (5)PALOMA TANKIXIïSS GAS W A'I'EItHEATER;
 6                238) DEW ALT 18V STOOL M ODEL#DCEKITA;
 7                239) DEW AIJF18V 6TOOL COMBO Kl'l'M ODEL #DC6VI'
                                                                 GA;
 8                240) DEW ALT l8V 6 TOOL COM BO KlT M ODEI,#IIC6KTGA;
 9                24l) KITCHEN A1D PROFESSIONAI-600M IXER;
10                242) LOGITECH 3-5600 COM PU'I'IîltSPEAKERS;
l1                243) IMPRESSA 59COFFEE MACIIINE MODEL //13171;
12                244) IM PRESSA 59 COFFEE M ACIIINE M ODEL //13215)
13                245) IM PRISSSA 59 COFFEE M ACLIINE M ODEI.//13215)
14                246) IM PRESSA 89 COFFEE M ACIIINE M ODEI.//13171;
15                247) IM PRESSA S9 COFFEE M ACHINE M ODEI,//13215;
16                248) M AGNUM AIRLESS PAlN'1'APPL.M ODlïI.#XRS;
17                249) COM PUTER HP PAVILION PC SERIAI,NUM BER:A1357C-B;
18                250) MAKITA TOOLCOM BO KI'I'M ODEL #LX'I'401;
19                251) MAKITA TOOL COM BO Kl'rM ODEL #LX'l'400;
20                252) M AKITA TOOL COM BO Kl'l'M ODEL #LX'
                                                          1'401;
21                253) SINGER SEW ING M ACHINE M ODEL //7436;
22                254) DEW AUI'18VOLT 6TOOl-Kl'I'M ODEL #D('
                                                           .6K'IAGA;
23                255) DEW AL'I'18VOLT 6TOOL KIT M ODELADC6K'I'GA;
24                256) DEWAlw'1'RIGHT ANGLE DRILI.MODEL #DW 96OK-2;
25                257) DEW AUI'lSVOLT DRILL M ODEI.#DW OSSK-Z)
26                258) DEW AUI'CORDLESSIM PAC'I'DRIVER KI'1'M()Dlîl.#DWOS4K-2;
                                           28
         Case 2:06-cr-00210-LDG-VCF      Document 761     Filed 06/10/08       Page 29 of 48                   t




     1                259) DEW ALT CORDLESS DR1l,IsDRIVER K IT M OD EL #D C9S-/KA ;
     2                260) DEW ALT 18VOLT COMBI)K1T M ODEL #DDSI.CPI;
     3                261) DEW ALT 18VOLT ANGLED NAILER K1T M ODEL #DC61SKA
                                                                                               ;
     4                262) M ILW AUKEE CIRCULAR SAW M ODEI, //6390-21;
     5                263) LINCOLN ELECTRIC GASCUTI'
                                                   ING AND W ELDING;
     6                264) DEW ALT DOUBLE COMP MI'INER SET M ODIôL #DW 7IE;
     7                265) NINE (9)AQUA STAR I'ANKLESS GAS W ATF;R HEATER M ODEL
     8                      #250SX 0 LP;

     9                266) THREE (3)AQUA STAR 'I'ANKLESS GAS WATER IIEATER M ODEL
 10                         #125BN G ;

 11                   267) FOUR (4)AQUA STAR TANKLESS GAS W'A'
                                                             I'ifR HEATER M ODEL
 12                        #250SX 0 N G;

13                   268) LASER MARK LASER PACKAGE MODlïI, VLM 3O PK G ;
14                   269) PORTER CABLE BELT SANDER M ODEL #362VSK;
15                   270) BANZAIFALLSSPEED SI1D1:';   .


16                   271) M ILW AUKEE 18VOLT SAW ZALL MODEI. //6515-27;
17                   272) LAW RENCE GPS M ODEL #337CDF SERIAL NUM BER:100357968
                                                                                                   ;
18                   273) OLYM PUS IM AGELINK CAM ERA AND PRINTER M ODEL //Z25680
                                                                                                       ;
19                   274) AUTO XRAY SCAN 5000MODEL #EZ SCAN 5000;
20                   275) M ILWAUKEE CIRCULAR SAW M ODEL //6390 21;        -



21                   276) UNIVERSAL TANKLESS WATER HEATER VENI' Kl'
                                                                  r M ODEL
22                         #RTG -20007;
23                   277) BOSCH ISVOLT DRILL DRIVIïR M ODEL //33618 2Z;        -



24                   278) PANASONIC         CORDLESS ANSW ERING                SYSTEM     M ODL;L
25                        #KX -TG 5433M ;

26                  279) ROOM BA SCHEDULER FI,O()R VA C;

                                                 29



                                                                                                           f
     Case 2:06-cr-00210-LDG-VCF   Document 761       Filed 06/10/08   Page 30 of 48
                                                                                      1


     1            280) DEW ALT CORDLESS JIGSAW KIT M ODEL #DC33OK;
 2                28l) MILW AUKEE DRILL PRESSM ODEL //4270-20;
 3                282) DEW ALT IM PACT CORDLIïSS DRIVER M ODEL #DW O5EK-2;
 4                283) DEW ALT OM M ER DRILI, K 1T M OD EI.#DW SISK ;
 5                284) MILW AUKEE DEMO IIAM M ER MODEI, //5339-21;
 6                285) DEW AI-T HAM M ER DRII,I- KlT M OD EI,//DC9S9K A ;
 7                286) GARMIN GPS MAP-M ODEL #76CX;
 8                287) KODAK EZ SHARE DIGI'I'AL PliOTO MODEL #2740;
 9                288) EMACfIINE DESKTOP PC AN13M ONITOR MODEI, #W 3107;
10                289) BRAUN SYNCRO SYSTEM SIIAVER M ODEI- //7000;
11                290) SPECTRA PRECISION lwAZl:
                                              'R MODEI, #LI.400;
12                291) PASLODE CORDLESS FRAM ING NAILER MODEI *9004200) .


13                292) DEW AUI'CORDLESSDRIll.D RIV ER Kl'l'M O D EI-*DC 987KA ;
                                                 -



14               293) TW O (2)DEW ALT ELEC'
                                          I'RIC '
                                                l'O()L KIT IN BLACK CASE;
15               294) THREE (3)CASIO EXILIM DIGI'IW L CAM ERA MODEL #EX ZIZO CP; -



16               295) TW O (2)INTEL CELERON PROCESSOR M ODEL #850323)
17               296) THIRTY TW O (32)SEX ANl)TllE CITY DVDS;
18               297) FIVI!(5)OZ DVDS;
19               298) FIVE (5)SOPRANOSDVD;
20               299) PHILLIPSNORELCO SHAVER MODEL #9IGOXL;
21               300) DEADW OOD DVD;
22               301) CANON REBEL XT DIGITAI, CA M ERA M O DEI.AEF-S 18-55;
23               302) DARK INVADERNIGH'INVISION UI,'rRA OW LSERIAI,N U M BER:9049;
24               303) VU GO M ULTIM EDIA SYS-I'EM ;
25               3j4) M ISC.CAM ERA EQUIPM EN'I'IN GRAY BOX;
26               305) HAYW ARD POOL ELECTRONIC C1ILOItINl%'GIïNERATOR;

                                            30
     Case 2:06-cr-00210-LDG-VCF        Document 761       Filed 06/10/08    Page 31 of 48




     1            306) HP PHOTOSMART 420 SERIAL NUM BER:CNSGRI4ORG;
 2                307) HPPAVILION MEDIA CTR TV PC AND M ONITOR MODEL #F2105;
 3                308) TW O (2)2 VITAMIN BOTI'I.ESI'
                                                   N BLACK TRASLIBAG;
 4                309) VARIOUSVEHICLE CHECKING DEVICES;
 5                310) NINF,(9)M SD IGNITIONS IN W HITE AND BLUE BOX PART //8225;
 6                311) FOUR (4)M SD IGNITIONS IN GREY B()X;
 7                312) BOSCH W ELDING KIT M()DlfI //27225;    .



 8                313) LINCOLN ELECTRIC AN'
                                          rISPA'
                                               r'I'
                                                  IïR SPRAY;
 9                314) LINCOLN ELECTRIC BRAZING FLUX;
10                315) GPSANTENNA;
11                316) EM BROIDERY SEW ING M ACLIINE SERIAL NUM BER:9571631l2;
12                317) DEWALI'CORDLESS 18VOI.T 4-'FO O 1,CO M BO TO OL K I'I'M O DEL #
13                      D C4KI'I'A ;
14                318) POLAROID DVD RECORDER M O DEL #PRI42001G ;
                                                          .



15                319) POLAROID DVD RECORDER M O DEL #D M R2002G ;
                                                          .



16                320) DCLCD 195'LCD M ONlTOit SERIA L N U M BER :549110901A .42418;
                                                      .



17               321) PENTAIR POOL SAL SPE'C'I'RUM AQUALI'I'E SPA Ll7'lï)
l8               322) DEW AL'
                            I'l8VOLT 4 -TOOI- C OM BO KlT.M O D EI,DC4K ITA ;
19               323) PHILIPS SOTICARE TOOTHBRtISH;
20               324) BOOST MOBILE W ALKIE TAI,KIE.M O D EI,//1855;
21               325) M ILW AUKEE 4PACK COM BO '1'001, K IT .M O DEI,//092829;
22               326) MILW AUKEE 4 PACK COMBO TOOL KlT;
23               327) M ILW AUKEE 4PACK COM BO KIT;
24               328) M ILW AUKEE 4 PACK COM BO KIT;
25               329) M ILWAUKEE 4-PACK COM BO TOOL KIT M O l)EI-//0923-29;
                                                                        .



26               330) VOCOPRO BRAVO DI($II'AL KARAOKE M ()17lk,
                                                              '1,//111693;
                                                                    .



                                               31



 r                                                                                          r
                                                                                            -
     Case 2:06-cr-00210-LDG-VCF   Document 761   Filed 06/10/08       Page 32 of 48




 l                331) THREE (3)8VOLT COM BO TOOL KIT.M ODEL #DC4KITA;
 2                332) FOUR (4)DEW ALT 18VOLT TOOL COMBO KIT;
 3                333) SIX (6)DEW ALT 18VOLT 4PIECECOM BO KIT;
 4                334) SIX (6)M ILW AUKEE 4 PACK COM BO KIT.M ODEL #0928-29;
 5                335) DYSON VACUUM CLEANI:
                                          'R.M ODEL ADCM SY;
 6                336) DYSON VACUUM CLEANIfR.MODEL #DCI4SL-ANI;
 7                337) BERNINA DECO 330;
 8                338) PIONEER DVD RECORDER MODEL #53IH-S;
 9                339) COM PAQ TURION 64 PRESARIO M ODEL V5015 SERIAL NUM BER
10                      (7N D6061599;
11                340) RCA DVD RECORDER & VCR SERIA I,NUM BER:602301376;
12                341) MILWAUKEE 4PIECE COM BO KlT MODI7
                                                       .l,//0923-29;
13                342) IM AC 05 20 INCH W IDESCREEN COM PUTER SF.ItIA I, N UM BER :
                                                                       .



14                      QP60419BTAR;
15                343) SHARP MULTIM RDIA DI2 PROJECTOR M ODf:
                                                            'l.NUM BER XR-IOX;
16                344) SlX (6IM AKITA 18V PIECECORDLESSCOMBO KIT.M ODEl.IwXT401;
     $
17                345) BROTHER DISNEY SEW ING M ACHINE M OIIEL SE270D;
18                346) DOLPIIIN DELUXE POOL VACUUM ;
19                347) PANASONIC 31.5 m CH IVCD TY , TC-32i,X 50 SERIAi, N U M BER:
20                     M G SG IO I12;

21               348) JURA CAPRESSO IM PRESSA ZM ATT COFFEE DISPENSER M ODEL
22                     //13214;

23               349) SEVEN (7)BROTHER DISNI:
                                            'Y SEW ING MACTIINE MODEL SE270D;
24               350) PROVIEW      19': W IDE LCD M ONl'I'OR      .    SERIA I- N U M BER:

25
26
                       F05/63068207U;
                 351) PROVIEW 19''LCD M ONI7'
                                            ()lt.SERIAL NUM BER:17051362128273U;
                                                                                             1
                                           32
     Case 2:06-cr-00210-LDG-VCF   Document 761    Filed 06/10/08   Page 33 of 48      i




 1                352) PROVIEW 19'LCD M ONITOR.SERIALNUM BER:FOSDE2O2E4GOU;
 2                353) PROVIEW 19''LCD M ONITOR.SERIALNUM BER:FOSDGZ 129 l9lU;
 3                354) SONY NFM-HT9S 199'I,CD '
                                              I'
                                               V M ONITOR;
 4                355) DEW ALT HEAVY DUTY COM BO KIT.M ()l)I:
                                                            'I,#I)W 618B3E SERIAL
 5                      N U M BER :919681;
 6                356) TW O (2)SCOOBA FLOOR W ASHING R()BO'I':
 7                357) DEW ALT HEAVY DUTY 18VOLT COM BO KI7'M ODEL DDSLCPI;
 8                358) DEW ALT 14.4VOLT 4T()OI,COMBO KlT MOI.
                                                            )IïL DDSRLCPI;
 9                359) DEW AI-T 18V 4TOOL COMBO K1T M ODIflvDDSCLZ;
10                360) ECHO,GAS POW ER BLOW ER M ODEL PB-260I,;
1l                361) EMERSON,DVD RECORIIiIIt& VCR.M ODEL i!W lI100F.SHRIAL #:
12                      174661l062A ;

13                362) EM ERSON ; DVR & DVD RECORDER & VCR. M ODEL SW H l00F
14                      SERIA I,#:13465l1061A ;

15                363) II'M ERSON DVR & DVD ItI'
                                               ,COItDER & VClt. M ()DEl. IïW U l00F
16                     SERIA L #:946511269,4;
17                364) EM ERSON DVD RECORDER & VCR.M ()DI!I, 4EW H 100F SERIAL
l8                     N U M BER:D4651l043A ;
19               365) IC POW ER 199,LCD MONITORW /SPEAKERS.M ODEL04-2019SERIAL
20                     N U M BER :755011009011;

21               366) 'I'HREE (3)ROOMBA SCHEIJULER ROBOKI'IC Fl.O()R VAC.MODEL
22                     4230;

23               367) ROOM BA DISCOVERY ROBOTIC VACUUM MODII
                                                           'L 4210;
24               368) DEW ALT 18V FINISH NAILER Kl1'M ODEL DCGI8KA;
25               369) DEW ALT 18 VOLT 3 TOOL COM BO K1T DW 959KSR-2;
26

                                             33
     Case 2:06-cr-00210-LDG-VCF   Document 761   Filed 06/10/08   Page 34 of 48




     1            370) IKDS USA 1755 LCD M ONITOR M ODEI, K717 SERIAL NUM BER:
 2                      F6E158038401U ;
 3                371) TOSHIBA SATELITE lNTlïla,MODEI-//A55-51064;
 4                372) HP PAVILION MODEL//13V4223C1SERIALNUM BER:2CES39OR4K;
 5                373) COM PAQ PRESARIO PC M ODEL //SRI7O3W N.SERIAL NUM BER:
 6                      CN H6040124;

 7                374) SONY VIAO PERSONAL COMPU'I'ER M ODIJ,l>#FJ270hB;
 8                375) SONY VIAO PERSONAL COMPUTER.175840ïW ;
 9                376) SONY VIAO PERSONAI-COM PU-INIîR FJ270ïB;
10                377) M ILW AUKEE 4 TOOL COM BO KIT.M ODI:
                                                          'I-0923-29;
1l                378) KODAK EASY SHARE I'lI()TO PRINTER KI'I' SERIAI,NUMBFR:
12                      K CLSG S4S3O SSS;

13                379) EMACHINES DESKTOP PC M ODEI, #W 3118 SERIAL NUM BER:
14                     (.:7-864M 003011;

15                380) 'FROYBIL'
                               F PRESSURE W ASfIER , M OD EI,020245 SERIA I.N UM BER :
16                      1012535224;

l7                381) MAXEN 26 W IDESCREEN l,CI)TV.M ODEL l,2G14XW O2L SERIAI,
18                     //:53125502457;
19               382) DYSON NACIXJM CLEANER.M ODEL#DCI4SI--AnISERIALNUM BER:
20                     175U SD 81547;

21               383) SPECTRA PRECISION LAZER,II,IaUM INUM TRIPOD M ODEL #2161k
22               384) MAKITA 18V 4PC CORDLESSCOM BO KI'1'MODEL #I,X'F4O 1;      I
23               385) HP PHOTOSMART 425 M ODEL #Q7070A SERIAL NUM BER:
24                     CN S7R2S19N ;

25               386) DELPHISATELLITE RADIO;
26       ...

                                            34



                                                                                         J
                  Case 2:06-cr-00210-LDG-VCF      Document 761     Filed 06/10/08           Page 35 of 48



               1               387) M ICR
                                              OSOFT OFFICE SOFTW AR
              2                       E                            E STUDENT & TEACHER Si 5010
                                          DITION 2003;
              3                388) YAM
                                        AHA SPEAKER M ODEL #S
           4                  389) JItX 1                       1lSD SERIAL NUM BER :11832676;
           5                            00 SPEAKER, M ODEL AJI?
                                                              kX I1SS;
                              390) YAM AHA SPEAKEK MO
                                                      DEL #S11SV SERIAL NUM B
           6                  391) Jlt                                       ER:11834725;
                                       x 100 SPEAKER M ODEI.#JItX IIBS
                                       .
                                                        ,
           7                  392) JBL                                            ;
                                            SPEA K ER , M ODEL #KVLEONM SP
          8                                                               -
                                                                            I SERIAL NUM BER
                                     1513-123337)                                            :
          9                  393) JBL S
                                           PEAK ER , M ODEL //1SP-1-
                                                                       26-214;
      10                     394) SONYR'
                                       VCAMERA 26620;   ,
                                                                                                                          1
      11                     395) HUSQVANAVIKINGSEWINGNIACI-IlN If     '
                                                                                                                          j
      12                    396) FI7N '
                                      I'
                                       V DVD &                                     ,
                                                                                       11410979;                          l
                                                    VCR PLAYER M ()I7FI
     13                                                                           #FTVOSO SF.
                                  Iè)110 36192;
                                                                              ,
                                                                                               RIALNUMBER:1
     14                     397) G2                                                                                       !
                                     G G EA R , M ODEL #TKDOSE SERIAL N                                                   t
     15                     398) PRO                                              UM BER:54363 00007                      l
                                       FESSIONAL'S CHOICE B                                               ;
     16                    399) TW E                             ACK SUPPORT Bi#l7F;
                                    NTY FIVE (25)M SD IGNITION
     17                                                                    COIL GM EXTERNAL PAR
                                 8226;                                                                    T NO .
                                                                                                                      )
 18                        400) TW O
                                       (2)M SD IGNITION LASTIIR 2C
 19                        401) TW                                         O IL PA RT 8202)                           h
                                   O (2)M SD IGNITION DlSTRIBUTOR                                t
 20                       402) NINE                                 COIIaGM HEIPART NO
                                     TEEN (19)EDELBROCK FUlïI
                                                              . LI
                                                                                           8226) $    .


 21                       403) SIX                                NE K1T 8126 CIIROM ED S'FEEL;
                                   (6)EDELBROCK 1478ELECTR
22                                                             IC CHOKE KIT;
                         404) TW O (2)PILOT 4CHAN
                                                    NEL W IRITLESS REM OTE S
23                       405) FO                                               HIFT KNOB;
                                 UR (4)AUTOXRAY INTERFA
24                                                               CE CABLES CIIRYSLER OBDI/GM
                               OBDI/OEDII/FORD OED
                                                            I;
25
26
                         406)LINCOLNELECTRICNOZZLIïGEL;
                         407) BLU
                                                                                                                  1
                                                                                                                  h
                                    E AND BI-ACK OAKLEY BACKPACK
                                                                             ;
                                                      35




                                                                                                              $
     Case 2:06-cr-00210-LDG-VCF   Document 761       Filed 06/10/08    Page 36 of 48
                                                                                                 t


     l            408) FIVE (SISONY PICTURE PACKAGE SOFTW ARE;and
     2            409) HUSQVARNA VIKING PROGRAMM ABLE CARD 266K8                 .


     3       (k) THECONTENTSOFTHERESIDENCEAT67O6PYRACANTHA GLEN COURT
 4                LASVEGAY NEVADA:                                                          ,
                  1)    C REA TIV E        TR A V E1, STA TIO N       Sf1'R IA 1- N U M B ER :
     5                  C.4541750104750015620;
 6                2)    DEW ALT COM PACT DRILL;
 7                3)    W ALTHER .177CALIBER PELLETGUN SERIALNUMBER:J44571475;
 8                4)    SONY M AVICA CAM ERA SI'
                                               ,RlALNUM BER:228357;
 9                5)    GARM IN GPSLTNIT;
 10               6)    JVC M INIDV CAMERA W I'('i1 CIIARGER AND BA'I''I'IîRY SERIAI        ,


11                     N UM BER ;060X 5863;

12                7)   CANON DIGITAL CAMERA W ITH CASE SERIAL NUM BER:
13                     4851600859;

14                8)   DELL M ONITOR SERIAL NUMBER:MXO2Y31147E054413DX9X)
15               9)    DELLM ONITOR SERIAL NIJM BER:M XO2Y31147GO53BIALL7;
16               10)   YELLOW TBALL'DYSON VACUUM CLFANER;                                        1
1                                                                                                j
 7                11) FIVE(5)3.
                              5INCHFLOPPYDISKS;                                                  l
18               12)   $1,026.00IN UNITED STATL'SCURRENCY;
19               13)   M O'I-OROLA 1530 CELL PIIONE SERIAI, N U M BER:364813Y604W ;
20               14)   NEXTEL BLACKBERRY 7520SERIAL NUM BER:400C4139;
21               l5) HP IPAQ SERIALNUMBER:TW C4400TK1;
22               16)   W ESTERN DIGITAL FXTERNAL HARD DRIVE SERIAL NUM BER:
23                     4/)(E)5'04032292;
24               17)   W ESTERN DIGITAL EXTERNAIX IIA RD D RIVE SERIA I,N UM BER :
25                     W X E5052467374

26               18)   ANT NIGIIT VISION NZ1'-625;
                                               36
      Case 2:06-cr-00210-LDG-VCF       Document 761     Filed 06/10/08       Page 37 of 48
                                                                                                          l

     l             19)    ACTRON AUTO SCANNER M ODEL#CP9135;
     2             20)    SIRIUSSTAR MATE SATELI.ITE M DIO RECFIVER;
     3             21)    SONY HANDICAM CAM CORDER MODEI-//D CRDV D IOI;
 4                 22)    IPAQ PDA SERIALNUM BER TW G43l03PT;
 5                 23)    GARM IN STREET PlI,OT 2720 GPS SYSTIïM ;
 6                 24)    GOLDLINE CONTROLS VALVE ACTUATOR;
 7                 25)    JANDY POW ER CENTI6R;
 8                 26)    JANTEK CONTROL PAD SERIAL NUMBER K255300021;
 9                 27)   PORTER CABLE LOCK-BORING JIG;
 10                28)   W HITES ELECTRONICS XL'l'M ETAL DE'I'EC'
                                                                1'OR;
 11                29)   GOLDLIN E CONTROLS SM ARTPURE SANITIZER CON7'ROl- BO X ;
 12                30)   ORAL-B TRIUM PH EI.ECTRIC TOOTCIBRUSII;
13                 3l) NAGRADIGITALRECORDIfRMODEL//ARFSM SERIAL N U M BER: l-



14                       2070001.40515;                                                               (
15                 32)   SAM SUNG DIRECT TV RECEIVER M ODEI, SIR-TS3G O ;
16                33)    ROLAND KEYBOARD PHANTOM X8;
17                34)    SONY HANDICAM CAM CORDER M ODEL #DCR-HCZ6;
18                35)    UNIVERSAL W ALKW AY '
                                             FES'I'ER MODEI- //BO T3000;
19                36)    M OBILE W IRELESSCAM ERA MOBICAN 24G llZ;    .


20                37) TWO(2)JANDYVALVEACTUATORJV                                                      1
                                                                  :-2444;
                                                                  ,
                                                                                                      j
21                38)    D ELL     fLO PPY      D lSK      D R lV E       Sl:
                                                                            'R IA 1-   N U M B ER :
22                       PH OO 9YX E44572OC SEU RN ;
23                39)    PANASONIC MICROCASETTE TRANSCRIBER M ()DI!lv RRY 3O ;
24                40)    SEAGATE BARACUDA FIARD DRIVE 400GB SERIAL NUM BER:
25                       3N F04I.LQ;
26       ...
                                               37                                                     t
                                                                                                      t
                                                                                                      1
                                                                                                      r
     Case 2:06-cr-00210-LDG-VCF     Document 761   Filed 06/10/08   Page 38 of 48




 1                41) TW O (2)FARENHEIT W IRELESSINFRARED S'FEREO IIEADPHONES
 2                      M OD EL//W LHP-IX ;
 3                42)   ORECK       XL21 VACUUM        CLEANER      SERIAL NUM BER:
 4                      700ECBX S1O 1338-3;
 5                43) ORECK         XL-21 VACUUM       CLEANER       SERIAL NUM BER:
 6                      700EC PX S002334-3;
 7                44)   HOOVER VACUUM CLEANER DUEL-DUTY 1400 SERIAL NUM BER:
 8                      06083;

 9                45)   PORTADRIVE PDR2000SI:
                                            'RIAL NUM BER:10153;
10                46)   TW O (2)JANDY SPA SIDE SW ITCH MODEL//7443;
1l                47)   ORECK HOUSEKEEPER COM PACT CANISTER VACIJUM CLEANER;
12                48)   TW O (2)JANDY SPA S1DI:
                                              'REM OTE SS4100W ;
13                49)   JANDY REM OTE FOUR ICtJNC'I'ION M ODEI,//520092;
14                50)   BADGER AIRBRUSH MODEL 150IN W OODEN BOX;
15                5l)   TW O (2) STARBUCKS BARISTA ESPRESSO M ACIIINES M ODEL//
16                      142117;

17                52)   IROBOT ROOM BA SCHEDIJI,ER AUTOM A'CIC VACUUM ;
18                53)   THREE (3INFL JERSEYS;
19                54)   TOTEVISION LCD COLOR M ONl'1'OR M ODEL//l,CDE4O;
20                55)   FOODSAVER VACUUM SEALER M ODEL//V825)
21                56)   PEAVEYAM PLIFIERM ODEI,#TM NSFOV ERI12SERIALNUMBER:
22                      112232924

23                57)   TW O (2)JANDY AQUALINK RSPOOL DIGITAL ASSISTANT;
24               58)    TWO IZIJANDYAQUAPURIîM ODELAAPUREI4OOW AR'ER PURIFIER;
25               59)    GENERAI,ELECTRIC PAN-TILT CONTROLLER PAR'l'#.
                                                                    40006A326;
26               60)    ACTRON AUTO SCANNER MODEL//CP9135;
                                              38
     Case 2:06-cr-00210-LDG-VCF     Document 761   Filed 06/10/08   Page 39 of 48




 1                61)   BADGER WHIRLW INDZMODEL 80-2A1R PUMP;
 2                62)   NIKOTA l200W POW ER INVERTER;
 3                63)   JANDY POOL DIGITAL ASSISTANT 8261;
 4                64) NIGHT VISION GOGGLESAM VIS IN GREEN BAG SERIAL NUM BER:
 5                      7000;
 6                65)   JURO CAPRESSO AUTOM ATIC COFFEE CENTER;
 7                66)   YELLOW W ORK LIGHT S'IWND W ITH 2I,IGHTS;
 8                67)   CAM PBELL-HOSSFELD AIR COM PRESSORSERIAI-NUMBER:02384;
 9                68)   DEVINCIBICYCLE 10 SPEED,DISASSEM BLED;
10                69)   QUICKBOOKS POINT 017SAI-E SOl,Ul'1ON F()R RETAILERS CASH
11                      REG ISTER;

12                70)   APPLE IPOD 20GB SERIAI,NUM BER:4J50456/1359;
13                71)   APPLE IPOD 30GB SERIAL NUMBER:2CDS17OF1U;
14                72) APPLIIPODLOGESERIALNUMBER:4USO6SQESAZ;                        l
15                73)   APPLE IPOD NANO 2GB SERIAL NUM BER:7KSS3M HOTJT;
16                74)   VERTU CELL PHONE SEItIAI-NUMBER:13-002456;

17                75) DELLLATITUDELAPTOPC-400SERIALNUMBER:911.
                                                             226-A00; )
18                76)   DELL OPTIPLEX GXl10 DESKTOP COM PU'I'ER SERIM .NUM BER:
l9                      H 8Z0401;

20                77)   COM PAQ PRESARIO 6000 CPU TOW ER SERIAI, NUMBER:
21                      :1X 30632938;

22                78)   COM PAQ PRESAIUO CPU 'l'()W ER SRl319RS SERIAI, NUM BER:
23                      M X K4500M 99;
24                79)   SONY VAIO PCV-ItZ4OCII3TOW ER PCU SERIALNUMBER:3004772;
25                80)   GENERIC CPU TOW ER -l3ElGlï,NO SERIAL NUM BER;
26                8l)   APPLE IM AC SERIAL NUM BER:YMOIE7CJJBS;
                                             39



                                                                                    r
 Case 2:06-cr-00210-LDG-VCF   Document 761      Filed 06/10/08   Page 40 of 48




1             82)    SONY VAIO M ODEL PCV-FZI1 SERIAL NUM BER:3001634;
2             83)    DELL POW EREDGE 2400 CPU SERIAL NUM BER:SNPJIO I;
3             84)    DELL POW EREDGE 2300CPU SERIAL NUM BER:6153J;
4             85)    DELL POW EREDGE 1400CPU SERIALNUMBER:19QSNO1;
5             86)    SENCORE VSB PLAYER HDTV IN BLACK PELICAN CASE;
6             87)    MAYTAG NEPTUNE DRYING CENTER;
7             88)    HOISTFIF985W EIGHTCENTER SERIALNUM BER:01lIF-OPT-03265C;
8             89)    IM AGE 7.8EXERCISE EQUIPM ENT;
9             90)    VERSA CLIMBER,M()DI:
                                        'I,#Cl--208lI.SERIAL NUMBER:1631;
10            91)    BREITLING 1834 M EN 'S W A'
                                               I'CLI;
l1            92)    GOLD COLORED M EN 'S BRACELE'I'W /W HI'I'E STONES;
12            93)    TILE PATIO TABLE W /FOUR CIIAIRS;
13            94)    LYNX PROSEAR BARBQUE UNIT;
14             95)   THE SHARPER IMAGE22PC S'I-AINLESS S7'EE1,GRILL SETI'
                                                                        N CASE;
15            96)    THREE (3)PIECE SOFA Sl:
                                           ''1';
                                                                                  1
16             97)   W OODEN END TABLE;
17            98)    W OODEN COFFEE 'rABl.I:
                                           ';
18             99)   GLOBE;
19             100) MITSUBISHITV 1080;
20             101) W IIITE VASE W ITH STAND;
21             102) NAKAM ICHIDVD & CD PI.AYER,SERIAI,NUMBER;2110J596;
22             103) PHILLIPS PERSONAI,VIDEO RECORDER.NUMBER:44899637;
23             104) ORNAMENTAL CERAM IC S'I'ATUE;
24             105) ORNAMENTAL HAND S'l'A'1'US;
25             106) THREE (3)ORNAM EN'IW I.CANDLESTICKS;
26             107) ORIENTALSTYLEORNAMICN'
                                         I'
                                          ;                                       r
                                          40
     Case 2:06-cr-00210-LDG-VCF   Document 761   Filed 06/10/08   Page 41 of 48




 1                108) ZATHLETIC VAULTING BAR W /GYM MATS;
 2                109) Dm ING ROOM TABLE W /SIX CHAIRS;
 3                110) BATI'
                           I& BODY W ORK BAG;
 4                111) SEVEN (7)VARIOUS STYLES LUISVUTTON HANDBAGS;
 5                112) ONE LOUISVUTTON W ALLET;
 6                1l3) COACH HANDBAG W /M AIV IIING W Al,I.l#T;
 7                114) ONE BROW N LEATHER IIANDBAG;
 8                115) ONE COACH HANDBAG;
 9                116) ONE DOONEY BOURKE IIANDBAG SKU 3884334469;
10                1l7) ONE COACH HANDBAG & M ATCHING W AI-I,E7'IN DUST COVIIR;
11                118) ONE ACCUTRON BULOVA M I'
                                              ,N 'S W ATCIIIN A BLACK I,EATHER
12                      A CCU TRON BO X ;                                         )
13                119) ON E COACH HAN DBAG W /DUST COVER W /TAGS;
14                120) ONE COACH HAN DBAG IN DIJSTCOVER;
15                121) ONE COACH HANDBAG REDDISII& BROW N IN DUS'
                                                                F COVER;
16                122) M ENSCITIZEN W ATCH;
17                123) LADIES ROLEX W ATCH;
18                124) ORNATE W ALL M IRROR;

19                125) ORNATEDESKCLOCK;                                           l
20                126) ARM OIRE;
21                127) KING SIZE BED W /MATTRESS 7BOX SPRING;
22                128) TW O (2)NIGHT STANDS;
23                129) STANDING ARM OIRE;
24                130) DRESSER;
25                131) M ASSAGER;
26 ...

                                            41
     Case 2:06-cr-00210-LDG-VCF   Document 761     Filed 06/10/08   Page 42 of 48




 1                132) PANASONIC FLATSCREEN W ALLTV M ODEL//VIARA M OUNTED TO
 2                      W A LL;

 3                133) SONY DVD PLAYER M ODEI,//HCDC4SO.SERIALNUM BER:8399161;
 4                134) TIVO DIGITAL VIDEO RECORDER MODEl.TCDS4004O W /REMOTE;
 5                135) NORDIC TRACK EXP 1000X;
 6                136) COLUMN STAND W ITH PLANT;
 7                137) DVR 460M ODEL #HSDVRO42W /REMOTE CON'I'ROI,;
 8                138) SAM SUNG COLOR OBSERVATION M ON ITOR. SERIAL NUM BER:
 9                      69VW 102483;

10                139) FOUR(4)SONYSPEAKERS,SERIALNUMBERS2240127,2240128,l
11                     3118966,AND2240127;                              I
12                140) TW O (2)BOXES OF SAM SUNG ELECTRONICS SECURITY CLOSED
13                      CIRCU IT TV HO U SING ;

14                141) SONY BASS REFLEX SUB WOOFER,M Ol7iïIv4SS-W SSO2.SERIAL
15                      N U M BER :8418430;
16                142) SAM SUNG CC TV HOUSING CONTAINING A CAM ERA.SERIAL
17                      N U M BER:62ZW 102411P;

18                143) THREE (3)FRAM ED PICTURES (FI,OW ERS);
19                144) PLAYSTATION 2GAME (KILLZONE);
20                145) PLAYSTATION 2GAME (STREET);
21                146) PANASONIC TV REMOTE CONTROL;
22                147) GAM E M AKER KENO PLUS VIDEO GAM ING M ACIIINE;
23                148) THREE PIECE LIVING ROOM SET YELI,OW IN COLOR;
24                149) COFFEE TABLE;
25                150) STANDING LAM P;
26                151) FRAM ED PICASSO STYI,E PAINTING;
                                              42
     Case 2:06-cr-00210-LDG-VCF   Document 761   Filed 06/10/08   Page 43 of 48




 1                152) TW O (2)LEATHER ROLLING OFFICE CHAIRS;
 2                153) EXECUTIVE STYLE DESK/CREDENZA W ITH SHELVING UNIT;
 3                154) SONY CYBERSHOT CAMERA SERIAL NUM BER:1554959;
 4                155) BROTHER MFC 9700 M ULTIFUNCTIONAI,UNIT SERIAL NUM BER:
 5                      1760073172J32218;

 6                156) RED LEATHER JEW ELRY BOX;
 7                157) EI,GIN M EN'SW ATCH SERIAI,NUM BER:FSS479-007;
 8                158) GUCCIW OMEN'S W ATCI1;
 9                159) FOSSIL W OM EN'SW AI'CLI,
                                               4R4-3049;
10                160) çILOVE LUCY'W ATCH;
11                161) TIM EX INDIGLO W ATCII;
12                162) COCA COLA DOG W AI'C#I;
l3                163) LORUS tM ICKEY MOUSE'W ATCH;
14                164) NINE (9)COSTUM E JEW ELRY BRACELETS;
15                165) ET W ATCH;
16                166) FIVE (5)SETS OF COSTUM E JEW ELRY EARRINGS;
17                167) COSTUM E JEW ELRY NECKLACE;
18                168) SINGLE GOLD AND DIAM OND EARIUNGS;
19                169) STERLING SILVER BAR W ITH LTN KNOW N S'I'ONE;
20                170) FIVE (5) COSTUM E JEW EI-RY PENDANTS;
21                171) SET OF DIAM OND EARIUNGS W ITH SCREW ON BACKING;
22                172) SET OF W HITE PEARL EARRm GS;
23                173) SET OF PINK PEARL EARRINGS;
24                174) SET OFPINK DIAM OND SQUARE CUT EARRINGS;
25                175) SET OFW HITE DIAM OND SQUARE CUT EARRINGS;
26                l76) SET OF TIFFANY SILVER ClRCI,l1'EARRINGS;
                                                                                  i
                                            43
     Case 2:06-cr-00210-LDG-VCF
     !I                           Document 761      Filed 06/10/08   Page 44 of 48




 1                177) FOUR (4)COSTUM E JEW ELRY RINGS;
 2                178) SILVER M EN'SRING;
 3                179) GOLD RING WITH GREEN STONE MARQUEE CUT;
 4                180) GOLD RING W ITH GREEN STONE OVAL CU'I'AND DIAM OND
 5                      BA GU ETTES;

 6                181) GOLD RING W ITH BLUE STONE AND DIAM OND BAGUETTES;
 7                182) SILVER RING W ITH DIAM OND ATTACHED '1'0 SII,VER RING W /
 8                      D IA M ON D BA G U ETTES;

 9                183) SILVER RING W ITH PURPLE STONE AND DIAMOND BAGUETTES;
10                184) GOLD RING W ITH DIAM OND BAGUETTES;
ll                185) GOLD RING W ITH Sm GLE DIAM OND S'FONE;
12                186) GOLD RING W ITH SLASCIES CUT IN THE 'I'OP;
13                187) GOLD BAND W ITH ETCIIINGS;
14                188) SILVER TENNISBRACELE'FW ITIIDIAM ONDS;
15                189) SILVERTENNISBRACELE'I'W ITH DIAMONDSAND SII.VER SW IRLS;
16                190) TIFFANY AND CO.SILVER BRACELE'
                                                    I'W I'I'H SMAI,I,CHAINS AND
17                      H EA RT IN CEN TER ;

18                191) TIFFANY AND CO.CASE CONTAINING SILVER BRACEI-ET W ITII
19                      H EA RT PEN DAN T;

20                192) TIFFANY AND CO.CASE CONTAINING SILVER NECKLACE AND
21                      HEART PEND AN T;

22                193) TIFFAN Y AND CO. SILVER NECKLACE W ITH RECTANGULAR
23                     PEN D AN T;

24                194) TIFFANY AND CO.SILVER NECKLACE W ITH CIRCULAR PENDANT;
25                195) GOLD NECKLACE W ITH HEART PENDANTSW ITH DIAM ONDS;
26                196) STRING OF PEARLS NECKI.ACE;
                                               44
     Case 2:06-cr-00210-LDG-VCF     Document 761   Filed 06/10/08   Page 45 of 48




 1                 197) SILVER NECKLACE W ITIISTAR OF DAVID,SILVER ON FRONT,
 2                       G OLD O N BA CK ;

 3                 198) SILVER NECKLACE W /S'FAR OF DAVID PENDANT W /DIAM ONDS
 4                       ON Tl1E STAR ;

 5                 199) SILVER NECKLACE W lTIlPm K PEARLS AND PINK DIAM ONDS;
 6                 200) TIFFANY AND C0.SILVERNECKLACE W ITH SIN GLE W HITE PEARL;
 7                 201) SILVER NECKLACE W ITH SEVERAL W HITE PEARLS;
 8                 202) GREEN SOFT CASE;
 9                 203) BLACK PLASTIC JEW ELRY CASE;
10                 204) BAGGY CONTAINING W ATCH LINKS;
1l                 205) SINGLE GOLD HOOP EARRJNG;
12                 206) M EN'S GOLD LINK NECKI,ACIï;                                !
13                 207) M EN'S W HITE GOLD 14K I-INK NECKLACCT;
14                 208) M EN 'S GOI,D RIN G W lTllSINGLE CIRCULAR CUT DIAM OND;
15                 209) M EN'S GOLD RING W I'1'H 2W HITE AND ONE RED STONE;AND
16                 210) M EN 'S SILVER RIN G W l'I'H NUM EROU S SM ALL DIAM ONDS;
17           (I)   2005 CHRYSLER 300, NEVADA I,ICENSE PLATE 1BAD300, Vm
18                 2C3JA 536 4514551790;

19           (m) ITEM S LISTED IN SUPPLEM ENTAI,BILL OF PARTICULARS:
20                 1)    COBRA M ICROTALK RADIO;
21                 2)    M YVOICE DIGITAL RECORDER;
22                 3)    XBOX VIDEO GAME-BI,ACK;
23                 4)    XEROX FLATSCREEN COM PU'I'ER M ONITOR SERIAI, NUMBER
24                       E98Z591296217)

25                 5)    LG 32INCH FLAT SCREEN TV SERIAL NUMBER 412KGXA29226;       I
26                 6)    IIP PDA W ITH CHARGER,SERIAI.NUM BER X11-15454;
                                             45
'




         Case 2:06-cr-00210-LDG-VCF   Document 761   Filed 06/10/08   Page 46 of 48




     1                7)    OLIVIA FLAT SCREEN TV SERIALNUM BER V,A.
                                                                   (21715341368;
     2                8)    HP PDA;
     3                9)    SONY HANDYCAM SERIAL NUM BER 228451;
     4                10)   HARDRIVE MPIO SERIAL NUM BER CPllSlC02945;
     5                11)   COM PAQ LAPTOPCOM PUTER SERIAL NUM BER SCNF6ISOJBZ;
     6                12)   TOSHIBA LAPTOP COM PUTER SERIAL NUM BER 56073080Q;
     7                13)   SAW ED OFF REM IN GTON .22 RIFLE,SERIAL NUM BER 2615353;
     8                14)   POLAROID CPU,M ODEIXl7LM -1511;
     9                15)   FLAT PANEL W ALL M OUN'I'UNl'l';
    10                16)   KlD TOUGH FP3PLAYER;
    11                17)   KID TOUGH DIGITAL CAM ERA ;
    12                18)   FIVE (5)XBOX 360 W IREI.ESS HEADSE'I'
                                                                S;
    13                19)   FOUR (4)PS2 GAME CONTROLLERS;
    14                20)   THREE (3)XBOX 360FACEPLATES;
    15                21)   REAM OFHPPRINT PAPER;
    16                22)   FAST TRACK USB SOFTWARU;
    17                23)   M ONSTER XBOX 360GAM E CABLES;
    l8                24)   XBOX 360GAME SYSTEM W ITIISTEERING W LIEEL;
    19                25)   PS2CONTROLLER;
    20                26)   TABLECLOTH;
    21                27)   EIGHT (8)PS3GAM ESI'
                                               N CASE;
    22                28)   FIVE (5)PS3GAM E CASES,NO GAME;
    23                29)   SIX (6)XBOX 360,GAMES IN CASE;
    24                30)   SlX (6)Xl3OX 360GAM E CASES,NO GAM E;
    25                31)   TW O (2)PLAYSTATION 2GAM ES IN CASE;
    26                32) NIN'I'ENDO DSGAM E CASE,NO GAM E;
                                               46



                                                                                       r
     Case 2:06-cr-00210-LDG-VCF        Document 761       Filed 06/10/08     Page 47 of 48




  1                 33)    BLACK NYLON CASE W lTl4BATTERY;
 2                  34)    TW ELVE (12)PSP GAM ES IN CASE;
 3                  35)    ELEVEN (11)PSP GAM E CASES,NO GAM E;
 4                  36)    USB CABLE;
 5                  37)    TW O (2)FIREW IRE CABLES;
 6                  38)    RCA JACKS;
 7                  39)    PC VIDEO GAM E;
 8                  40)    EIGHTEEN (18)DVD MOVIES;
 9                  41) ADAPTOR CABLE;
10                  42) THREE (3)COBS;
l1                  43)    PSP GAM E CONSOLE;
12                  44)    COS'fUM E JEW ELRY RING;
13           (n) THE REAL PROPERTY KNOW N AS6706PYRACANTHA GLEN COURT,LAS
14                  V EG A S, CLA RK CO UNTY ,N EV A DA , W ITH A LL APPURTEN AN CES AN D

15                  IM PROVEM ENTSTHEREON (APN:125-24-710-050);
16           AND W HEREAS,thefollowingissubjecttolbrfeiturepursuantto18U.S.C.jj982(a)(2)(A)
l7 and982(b)and2lU.S,C.j853(p):
18                  $625.00 IN UNITED STATE CURRENCY.
19           AN D W H EREA S,by virtue ofthe guilty plea,the United States ofAm erica isnow entitled
20 to.and should,reducetheafbrem entionedproperty to thepossession oftheU nited StatesofA m erica.
21           N O W TH EREFO RE,IT IS HEREBY O RD ERED , A DJUD G ED ,AN D D ECREED thatthe
22 U nited StatesofA m erica should seize the aforem entioned property.
23           IT IS FU RTH ER O RDERED ,A D JUD G ED,A ND DECREED thataIIright,title,and interest
24 ofJO HNN Y M IZE in the atbrem entioned property is forfeited and is vested in the U nited Statesof
25 A m erica and shallbe safely held by the U nited States ofA m erica untilfurtherorderofthe Court.
26                                                                                                       '

                                                    47
     Case 2:06-cr-00210-LDG-VCF          Document 761        Filed 06/10/08       Page 48 of 48




 1            IT IS FU RTHER O RD ERED ,A D JUD G ED,AN D DECREED that the U nited States of
 2 A m erica shallpublish at least once a w eek for three successive w eeks in a new spaper ofgeneral
 3 circulation,notice ofthis Order,notice of intentto dispose ofthe property in such a m annerasthe
 4 Attorney Generalm ay direct,and notice thatany person,otherthan thedefendant,having orclaim ing
 5 a lcgalinterestin any ofthe above-listed forfeited property m ustfile a petition w ith the Courtwithin

 6 thirty(30)daysofthefinalpublication ofnoticeorofreceiptofactualnotice,whicheverisearlier.
 7 Thisnotice shallstate thatthe petition shallbe fora hearing to adjudicate the validity ofthe
 8 petitioner'sallegedinterestintheproperty,shallbesignedbythepetitionerunderpenaltyofperjury,
 9    shallsetforth the nature and extentofthe petitioner'sright,title,orinterestin the tbrfeited property
10 and any additionalfactssupporting thepetitioner'sclaim and the reliefsought. A copy ofthe petition
l1 shallbe served upon the A sset Forfeiture A ttorney of the United States A ttorney's Oftice atthe
12 follow ing address atthe tim e offiling:
13                  D anielD .H ollingsworth
                    A ssistantU nited StatesAttorney
14                  Lloyd D ,G eorge United States Courthouse
                    333 LasV egasBoulevard South,Suite 5000
15                  LasV egas,N evada 89101.
16    The notice described herein need notbe published in the eventa Declaration oI-I'orfeiture isissued
17    by the appropriate agency follow ing publication ofnotice of seizure and intentto adm inistratively
18 forfeitthe above-described asset.
19            DATEDthis (V dayof                    &'
                                                     *---         2008.
20

21                                                                            .
22                                                 U N IR'ED ST TES D I RICT J         GE
23
24
25

26

                                                      48                           '
